Case 1:19-md-02875-RMB-SAK   Document 2663-13   Filed 02/26/24   Page 1 of 33
                              PageID: 98520




                       Exhibit 22
Case 1:19-md-02875-RMB-SAK Document -
     Confidential Information        2663-13 Filedto
                                       Subject     02/26/24 Page 2 ofOrder
                                                      Protective      33
                            PageID: 98521

    1            IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY
    2
    3    *****************************
    4    IN RE: VALSARTAN, LOSARTAN, MDL No. 2875
         AND IRBESARTAN PRODUCTS
    5    LIABILITY LITIGATION          HON ROBERT B.
                                       KUGLER
    6    ****************************
         THIS DOCUMENT APPLIES TO ALL
    7    CASES
    8    *****************************
    9               - CONFIDENTIAL INFORMATION -
                    SUBJECT TO PROTECTIVE ORDER
   10
   11
   12               Continued Remote Videotaped via
   13    Zoom Deposition of PENG DONG, commencing at
   14    7:05 a.m. Hong Kong time, on the 1st of
   15    April, 2021, before Maureen O'Connor Pollard,
   16    Registered Diplomate Reporter, Realtime
   17    Systems Administrator, Certified Shorthand
   18    Reporter.
   19
   20                               – – –
   21

                    GOLKOW LITIGATION SERVICES
   22            877.370.3377 ph | 917.591.5672 fax
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   23
   24



  Golkow Litigation Services                                  Page 1 (348)
Case 1:19-md-02875-RMB-SAK Document -
     Confidential Information        2663-13 Filedto
                                       Subject     02/26/24 Page 3 ofOrder
                                                      Protective      33
                            PageID: 98522
                                           Page 349                                                        Page 351
    1 APPEARANCES: ALL PARTIES APPEARED REMOTELY         1 APPEARANCES (Continued):
    2                                                    2
        FOR THE PLAINTIFFS:                                  FOR THE DEFENDANTS ZHEJIANG HUAHAI
    3                                                    3 PHARMACEUTICAL CO., LTD., PRINSTON
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   24                                                   24

                                             Page 350                                                      Page 352
    1 APPEARANCES (Continued):
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    3
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    7                                                    6
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   24




  Golkow Litigation Services                                                        Page 2 (349 - 352)
Case 1:19-md-02875-RMB-SAK Document -
     Confidential Information        2663-13 Filedto
                                       Subject     02/26/24 Page 4 ofOrder
                                                      Protective      33
                            PageID: 98523
                                            Page 353                                           Page 355
    1
    2
                 INDEX                                  1
                                                                   - - -
    3
        EXAMINATION                      PAGE                    DEPOSITION SUPPORT INDEX
    4
        PENG DONG                                       2
                                                                   - - -
    5
        BY MR. SLATER                    357            3

    6
                                                        4
                                                          Direction to Witness Not to Answer
    7
         EXHIBITS                                         PAGE LINE
    8
      NO.      DESCRIPTION                    PAGE      5
                                                          None.
    9
      ZHP-205 Master Drug File amendment,               6
   10
           Bates HUAHAI-US00007752                      7
   11
           through 7923.................. 358           8
      ZHP-206 Guideline on the Limits of                  Request for Production of Documents
   12
           Genotoxic Impurities.......... 370             PAGE LINE
                                                        9
                                                          None.
   13
      ZHP-207 EMA Questions and answers on             10
           the "Guideline on the limits                11

   14
           of genotoxic impurities"...... 379             Stipulations
                                                       12
      ZHP-208 Guidance for Industry,                      PAGE LINE
   15
           Genotoxic and Carcinogenic                  13
                                                          None.
   16
           Impurities in Drug                          14
           Substances and Products:
   17
           Recommended Approaches........ 386          15
                                                          Questions Marked Highly Confidential
                                                          PAGE LINE
   18
      ZHP-209 IARC Monographs on the                      None.
           Evaluation of the                           16

   19
           Carcinogenic Risk of                        17

   20
           Chemicals to Humans........... 402          18
      ZHP-210 Deviation Investigation                  19

   21
           Report, Bates                               20
           PRINSTON00075797 through                    21
   22
           76099......................... 426          22
   23                                                  23
   24                                                  24

                                            Page 354                                           Page 356
    1
      ZHP-211 Sun, et al article,                       1        PROCEEDINGS
           Theoretical Investigation of                 2
    2
           N-Nitrosodimethylamine                       3           THE VIDEOGRAPHER: We are now
           formation from Nitrosation                   4     on the record.
    3
           of Trimethylamine............. 445           5
    4
      ZHP-212 Investigation Report, Bates                           My name is Judy Diaz. I am a
                                                        6     legal videographer for Golkow
           ZHP00662283 through 2309...... 460
    5                                                   7     Litigation Services.
    6                                                   8           Today's date is April 1, 2021,
    7                                                   9     and the time is 7:05 a.m.
    8                                                  10           This remote video deposition is
    9
                                                       11     being held in the matter of Valsartan,
   10
                                                       12     Losartan, and Irbesartan Products
   11
                                                       13     Liability Litigation MDL.
   12
                                                       14           The deponent is Peng Dong.
   13
   14                                                  15           All parties to this deposition
   15                                                  16     are appearing remotely and have agreed
   16                                                  17     to the witness being sworn in
   17                                                  18     remotely.
   18                                                  19
   19
                                                                    All counsel will be noted on
                                                       20     the stenographic record.
   20
                                                       21           YANG SHAO, Interpreter,
   21
                                                       22 having been previously duly sworn to
   22
   23                                                  23 translate the proceedings to the best of his

   24                                                  24 ability, translated as follows:




  Golkow Litigation Services                                               Page 3 (353 - 356)
Case 1:19-md-02875-RMB-SAK Document -
     Confidential Information        2663-13 Filedto
                                       Subject     02/26/24 Page 5 ofOrder
                                                      Protective      33
                            PageID: 98524
                                            Page 357                                          Page 359
   1                                                   1
                                                       that section, in part it states, "Based on
                  PENG DONG,
   2                                                 2 actual residual results that DMF and MTBE
      having previously remotely affirmed to tell
    3                                                3 have never been detected in Valsartan, it is
      the truth, was examined and testified further
    4                                                4 demonstrated that these solvents are
      as follows through the interpreter:
    5                                                5 completely removed from the manufacturing
               FURTHER EXAMINATION
    6                                                6 process and omission of the testing is
      BY MR. SLATER:
    7                                                7 justified."
           Q. On the screen is a portion of
    8                                                8           MR. SLATER: You can translate
      the Drug Master File amendment filed in
    9                                                9     that.  Would you read that -- well,
      December 2013.
   10                                               10     let me start over again. I messed up.
               Do you see that?
   11                                               11     Let me start over.
           A. I see on the screen a document
   12                                               12     Q. This is part of the "Residual
      in English. I cannot understand what it
   13                                               13 Solvents" section, and there's a heading in
      says. I'm sorry.
   14                                               14 the middle of the page that starts "DMF and
               MR. SLATER: Cheryll, can you
   15                                               15 MTBE.
           go to the first page of the document,
   16                                               16           And it states in part in that
           please?
   17                                               17 paragraph, "Based on actual residual results
               Thank you.
   18                                               18 that DMF and MTBE have never been detected in
           Q. I'll start over.
   19                                               19 Valsartan, it is demonstrated that these
               On the screen is part of the
   20
      Drug Master File amendment that was filed in 20 solvents are completely removed from the
   21
      December 2013 that we've been discussing. 21 manufacturing process and omission of the
   22                                               22 testing is justified."
      It's dated November 10, 2013.
   23                                               23           My question is, would that
      Section 3.2.S.3.2, titled "Impurities."
   24                                               24 information have been based on the risk
               Do you see the document in
                                            Page 358                                          Page 360
   1  front of you?                                    1  assessment and the process validation that
   2      A. I do see a document in English            2  was performed in 2011?
    3 on the screen.                                    3     A. I wonder if the plaintiffs'
    4          MR. SLATER: What exhibit                 4 attorney could highlight the sentence you
    5     number is this, by the way, for the           5 just quoted in this paragraph, because in
    6     record? Let's just get that into the          6 this paragraph there's too much information,
    7     record.                                       7 and I cannot understand what it says here in
    8          MS. CALDERON: 205.                       8 English.
    9          MR. SLATER: Thank you.                   9          Besides, can the plaintiffs'
   10          (Whereupon, Exhibit Number              10 attorney ask more specific questions?
   11     ZHP-205 was marked for                       11     Q. Where this says that it was
   12     identification.)                             12 demonstrated that the solvents DMF and MTBE
   13          MR. BALL: I'm sorry, did you            13 were completely removed from the
   14     say 205?                                     14 manufacturing process, was that based on the
   15          MR. SLATER: Yes.                        15 risk assessment that was performed in 2011?
   16          MR. BALL: Thank you.                    16          MR. BALL: Objection. Outside
   17          MR. SLATER: Let's go to                 17     the scope of the 30(b)(6) topics.
   18     page 82. The Bates number, the last          18     This is a regulatory document.
   19     four digits is 7833.                         19     A. I would like to ask the
   20          Scroll down, please, a little           20 plaintiffs' attorney whether your quotation
   21     bit.                                         21 translated by the interpreter was a direct
   22 BY MR. SLATER:                                   22 quotation from the original in English from
   23     Q. There's a heading in the middle           23 this paragraph. I'm sorry, my English is not
   24 of the page that says "DMF and MTBE." And in     24 good.




  Golkow Litigation Services                                              Page 4 (357 - 360)
Case 1:19-md-02875-RMB-SAK Document -
     Confidential Information        2663-13 Filedto
                                       Subject     02/26/24 Page 6 ofOrder
                                                      Protective      33
                            PageID: 98525
                                            Page 361                                             Page 363
   1                                                   1    A. This regulatory document is
      BY MR. SLATER:
   2                                                 2 within the responsibility of the regulatory
          Q. Can you please answer the
    3                                                3 affairs department.
      question, sir?
    4                                                4          I cannot determine whether this
          A. If the interpreter just
    5                                                5 is within the topics I'm designated to
      translated what the plaintiffs' attorney just
    6                                                6 testify on as a corporate witness. However,
      quoted directly from this paragraph, could
    7                                                7 in my own capacity with regard to the
      you help me by further clarifying, because
    8                                                8 question posed by the plaintiffs' attorney, I
      the scope of the question is too broad.
    9                                                9 can share some of my opinions.
               I would like to have a more
   10                                               10          To the best of my recollection,
      specific question, or maybe the interpreter
   11                                               11 this regulatory document for submission is
      can translate this paragraph to me, because I
   12                                               12 dated in 2013, according to what has been
      need to get some understanding of the
   13                                               13 represented to me by the plaintiffs'
      context.
   14
               MR. SLATER: Okay. Go off the 14 attorney.
   15                                               15          In the risk assessment
          clock.
   16                                               16 performed in 2011 with regard to DMF and MTBE
               You can translate the whole
   17                                               17 during the process change, in the attachment
          paragraph for him if he wants it
   18                                               18 it says DMF and MTBE needs to be further
          translated. This is off the clock.
   19                                               19 tested in the validation process.
               THE INTERPRETER: The
   20                                               20          In the process validation
          interpreter is asked to translate this
   21                                               21 afterwards, based on the requirements of ICH,
          whole paragraph.
   22                                               22 quality standards were formulated regarding
               (Interpreter translating
   23                                               23 DMF and MTBE. Both solvents were tested for
          document to witness.)
   24                                               24 any residues in the process of the
          A. Thank you, Interpreter. Now
                                            Page 362                                             Page 364
   1  I'm clear.                                       1  validation.
   2           MR. SLATER: Before we go on             2           After the validation was
    3     the clock, is he ready to answer the          3 complete, between 2012 and 2013, when
    4     question, or is he going to keep              4 valsartan was manufactured using the zinc
    5     asking me questions? Because I want           5 chloride process, DMF and MTBE were
    6     to just get an answer on the record.          6 continuously being tested.
    7          MR. BALL: We're going back on            7          I believe, based on the work I
    8     the clock. The clock is for                   8 just mentioned with regard to DMF and MTBE as
    9     translation only, Adam. Please go             9 solvents, the conclusion was strong that it
   10     back on the clock.                           10 has been demonstrated that DMF and MTBE could
   11          MR. SLATER: Don't be so angry,          11 be completely removed.
   12     Frederick. It's only the early part          12     Q. Thank you.
   13     of the deposition. You usually don't         13          So the answer was yes, correct?
   14     get angry for an hour or two into it.        14          MR. BALL: Objection.
   15          MR. BALL: You know, what can I          15     Mischaracterizes his testimony.
   16     say. Go back on the clock.                   16     A. I do not understand what the
   17 BY MR. SLATER:                                   17 plaintiffs' attorney was referring to when he
   18     Q. Here's my question. Did the               18 said "So the answer was yes."
   19 risk assessment performed in 2011 determine      19 BY MR. SLATER:
   20 that DMF and MTBE were demonstrated to be        20     Q. All right. Let's go to
   21 completely removed from the manufacturing        21 page 147, which the last four Bates numbers
   22 process, as stated here in this DMF?             22 are 7898.
   23          MR. BALL: Objection. Outside            23          That was pretty good. We did
   24     the scope of the 30(b)(6) topics.            24 one question in 25 minutes. We're cruising.




  Golkow Litigation Services                                               Page 5 (361 - 364)
Case 1:19-md-02875-RMB-SAK Document -
     Confidential Information        2663-13 Filedto
                                       Subject     02/26/24 Page 7 ofOrder
                                                      Protective      33
                            PageID: 98526
                                           Page 365                                         Page 367
   1                                                  1
               Were you told that it's                    hasn't completed the testimony yet.
   2                                                2
      acceptable to take as long as you possibly          A. I believe had the exhibits
    3                                               3
      can and give the longest possible answer        presented to me been in Chinese, then we
    4                                               4
      possible every single time in order to take     would have been much more efficient.
    5
      up the time in our deposition? Were you told 5           With regard to the questions
    6                                               6
      that's acceptable for this deposition?          posed by the plaintiffs' attorney, I believe
    7                                               7
               MR. BALL: Objection. Vague.            I have provided accurate responses in the
    8                                               8
               By whom?                               most proper way I think.
    9                                               9
      BY MR. SLATER:                                           If the plaintiffs' attorney has
   10                                              10
          Q. You can answer.                          any questions regarding my answers, then we
   11                                              11
               MR. BALL: Before he answers --         can have a discussion. However, I believe
   12                                              12
          you don't need to translate this.           the previous question posed by the
   13                                              13
               Adam, he's tried to provide you        plaintiffs' attorney was a personal attack on
   14                                              14
          with a complete answer. I mean,             me.
   15                                              15
          that's all I can say.                                MR. SLATER: Cheryll, can you
   16                                              16
               Okay. Go ahead.                            scroll down so we can see the top of
   17                                              17
               MR. SLATER: Wait a second.                 the page also?
   18                                              18
          Why did you just put that in there                   Thank you.
   19                                              19
          before he translates it so that -- are      BY MR. SLATER:
   20                                              20
          you asking him to translate that?               Q. Page 147 of this document --
   21                                              21
               MR. BALL: No. I'm not asking           Bates 7898 are the last four digits -- is the
   22                                              22
          him to translate what I just said.          discussion about genotoxicity.
   23                                              23
               MR. SLATER: I don't appreciate                  My question is, genotoxicity
   24                                              24
          the speaking -- I don't --                  was evaluated, or was supposed to be
                                           Page 366                                         Page 368
   1                                                  1
               MR. BALL: I said, don't               evaluated, as part of the risk assessment for
   2                                               2
          translate what I just said. I'm            the zinc chloride process, correct?
    3                                              3
          telling you, if you're going to accuse         A. I would like the plaintiffs'
    4                                              4
          my witness of trying to slow down your     attorney to clarify which time frame and
    5                                              5
          deposition, I'm going to say on the        which process were you referring to.
    6                                              6
          record he's trying to give the best            Q. 2011, and I said the zinc
    7                                              7
          answer he can to the questions you're      chloride process.
    8                                              8
          asking.                                        A. Okay. In 2011, during the
    9                                              9
               Now he can answer the question.       valsartan zinc chloride process change, we
   10                                             10
               MR. SLATER: Please answer.            conducted impurity analysis and risk
   11                                             11
          Please read the answer.                    assessment based on the requirements of laws
   12                                             12
          A. I would protest against such            and regulations, which included the risk
   13                                             13
      statement from the plaintiffs' counsel. I      assessment on genotoxic impurities.
   14                                             14
      deem it as a personal attack on me.                     The work we conducted in 2011
   15                                             15
               The document presented to me by       was based on the knowledge of the
   16                                             16
      the plaintiffs' attorney is in English, and    authorities, the industry, and ZHP.
   17                                             17
      my English skill is poor, so I have to ask         Q. The 2011 risk assessment for
   18                                             18
      the interpreter to translate the content of    genotoxic impurities for the zinc chloride
   19                                             19
      the document to me.                            process was a failure because it failed to
   20                                             20
               Besides, while he was                 detect the presence of NDMA, correct?
   21                                             21
      translating, the time was off.                          MR. BALL: Objection.
   22                                             22
          Q. Were you required to produce --             Mischaracterizes   his earlier
   23                                             23
               MR. SLATER: I'm sorry. What?              testimony, and calls for opinion.
   24                                             24
               THE INTERPRETER: The witness                   MR. SLATER: I wasn't


  Golkow Litigation Services                                           Page 6 (365 - 368)
Case 1:19-md-02875-RMB-SAK Document -
     Confidential Information        2663-13 Filedto
                                       Subject     02/26/24 Page 8 ofOrder
                                                      Protective      33
                            PageID: 98527
                                           Page 369                                             Page 371
   1      characterizing his testimony. I was         1  which is the guideline that we just discussed
   2      asking him a direct question. I'll          2  from the EMEA, and I'd like to turn now to
    3     expect a yes or no.                          3 Section 4 on page 4 of 8 at the very top.
    4           MR. BALL: Calls for opinion            4          The first paragraph under
    5     and expert testimony.                        5 Section 4, which is titled "Toxicological
    6           MR. SLATER: No, it doesn't.            6 Background," says, "According to current
    7     It's a fact question.                        7 regulatory practice it is assumed that
    8           MR. BALL: No, it isn't, Adam.          8 (in vivo) genotoxic compounds have the
    9 BY MR. SLATER:                                   9 potential to damage DNA at any level of
   10     Q. Go ahead and answer.                     10 exposure and that such damage may
   11     A. The statement provided by the            11 lead/contribute to tumor development. Thus
   12 plaintiffs' attorney was incorrect. That was    12 for genotoxic carcinogens it is prudent to
   13 not what I tried to express.                    13 assume that there is no discernible threshold
   14           The risk assessment, including        14 and that any level of exposure carries a
   15 the risk assessment of genotoxic impurities,    15 risk."
   16 had to be performed based on the situation      16          My question is, since your
   17 and background at that time.                    17 company consulted this standard in 2011, your
   18           In 2011, the authorities, the         18 company knew the information I just read,
   19 industry, and ZHP did not have any knowledge    19 correct?
   20 of the formation of NDMA in valsartan zinc      20     A. The question posed by the
   21 chloride process.                               21 plaintiffs' attorney was based on the English
   22     Q. This has a summary and refers            22 paragraph on the screen.
   23 to the EMEA CHMP guideline on the limits of     23          As for the content of this
   24 genotoxic impurities effective as of            24 quote in English, the interpreter already

                                           Page 370                                             Page 372
   1                                                  1  translated that to me, and I already
      January 1, 2007.
   2                                                  2  understood the meaning of the quote.
               Was that relied on by ZHP in
    3                                                  3          However, could the plaintiffs'
      evaluating genotoxic impurities for the zinc
    4                                                  4 attorney repeat his pending question in
      chloride process in 2011?
    5                                                  5 English again so that I can fully understand
          A. Based on the information I
    6                                                  6 the question and provide an accurate answer?
      collected with regard to our work done in
    7                                                  7     Q. ZHP knew the information in
      2011 as a corporate witness, when the risk
    8                                                  8 that paragraph in 2011 when it performed its
      assessment for the impurities was performed,
    9                                                  9 risk assessment on the zinc chloride process,
      this guideline was used as a reference.
   10                                                 10 correct?
               MR. SLATER: Cheryll, if you
   11                                                 11     A. As the corporate witness, I
          could, could you pull that guideline
   12                                                 12 retrospectively reviewed many documents and
          up, please? It's the one that's
   13                                                 13 noticed that ZHP used this official document
          dated -- it says London, 28 June 2006
   14                                                 14 as a reference when they performed the risk
          in the top right.
   15                                                 15 assessment.
               Thank you.
   16                                                 16          As for the person that was
      BY MR. SLATER:
   17                                                 17 performing the risk assessment, whether he or
          Q. On the screen is Exhibit -- I
   18                                                 18 she specifically paid attention to what has
      think we're at 206, right?
   19                                                 19 been quoted by the plaintiffs' attorney
               (Whereupon, Exhibit Number
   20                                                 20 regarding the background, I'm not sure.
          ZHP-206 was marked for
   21                                                 21     Q. Let's go now to page 5 of 8.
          identification.)
   22                                                 22 The very bottom of the page is Section 5.2.3.
      BY MR. SLATER:
   23                                                 23          Section 5.2.3 of this document,
          Q. Start over.
   24                                                 24 which ZHP relied on in 2011, as you've told
               On the screen is Exhibit 206,


  Golkow Litigation Services                                              Page 7 (369 - 372)
Case 1:19-md-02875-RMB-SAK Document -
     Confidential Information        2663-13 Filedto
                                       Subject     02/26/24 Page 9 ofOrder
                                                      Protective      33
                            PageID: 98528
                                             Page 373                                            Page 375
   1  us, is titled "Application of a Threshold of      1       Q. Can you answer my question,
   2  Toxicological Concern."                           2  which is, all the information we've gone
    3           MR. SLATER: And what I'd like            3 over -- rephrase.
    4     to do is turn to the next page to go           4           Can you answer my question that
    5     to a paragraph in the middle of the            5 all of the information in this guideline from
    6     next page as part of this.                     6 the EMEA, the European Medicines Agency, was
    7           Perfect.                                 7 also available and known to ZHP in conducting
    8     Q. It says right in the middle of              8 the risk assessment for the TEA process with
    9 the page, "Some structural groups were             9 sodium nitrite quenching, correct?
   10 identified to be of such high potency that        10           MR. BALL: Objection. Vague
   11 intakes even below the threshold of               11      with time frame.
   12 toxicological concern" -- "TTC" -- "would be      12           But, Peng, to the degree you
   13 associated with a high probability of a           13      can answer his question yes or no --
   14 significant carcinogenic risk." And then it       14           MR. SLATER: 2011.
   15 cites "(Cheeseman et al. 1999 and Kroes           15           MR. BALL: -- please try to do
   16 et al. 2004)."                                    16      so. To the degree you need to expand
   17           "This group of high potency             17      upon it to answer thoroughly, feel
   18 genotoxic carcinogens comprises                   18      free.
   19 aflatoxin-like, N-nitroso-, and                   19      A. What format of knowledge are
   20 azoxy-compounds that have to be excluded from     20 you referring to when you were saying that in
   21 the threshold of toxicological concern            21 2011, when ZHP was conducting risk assessment
   22 approach. Risk assessment of members of such      22 for TEA process, the information on the
   23 groups require compound-specific toxicity         23 screen was already known to ZHP?
   24 data."                                            24           ///
                                             Page 374                                            Page 376
   1           That information was known to            1
                                                           BY MR. SLATER:
   2  ZHP in 2011, correct?                             2
                                                               Q. Was the risk assessment for the
    3     A. Based on the information I                  3
                                                           TEA process with sodium nitrite quenching
    4 collected as a corporate witness, in 2011          4
                                                           conducted in 2011?
    5 when ZHP conducted impurity risk assessment        5
                                                               A. I'm sorry, but could you ask
    6 for valsartan zinc chloride process change,        6
                                                           your question more specifically?
    7 we used this document shown on the screen as       7
                                                               Q. No. I wouldn't know how to do
    8 a reference.                                       8
                                                           that.
    9          With regard to the description            9
                                                               A. The interpreter's translation
   10 provided by the plaintiffs' attorney              10
                                                           was very clear to me, but still I cannot
   11 specifically and translated by the                11
                                                           understand your question.
   12 interpreter, ZHP conducted risk analysis or       12
                                                                    Maybe you can clarify what your
   13 risk assessment for sodium nitrite during the     13
                                                           question is or what you were referring to so
   14 valsartan zinc chloride process change in         14
                                                           that I can provide an accurate answer.
   15 2011.                                             15
                                                               Q. When did ZHP conduct the risk
   16     Q. And all of the information we              16
                                                           assessment for the TEA process with sodium
   17 went through from this guidance was known to      17
                                                           nitrite quenching to manufacture valsartan?
   18 ZHP when it conducted the risk assessment for     18
                                                               A. Based on the documents I
   19 the TEA process with sodium nitrite               19
                                                           reviewed as a corporate witness, I believe it
   20 quenching, correct?                               20
                                                           was conducted in 2011.
   21     A. For the triethylamine process,             21
                                                                    MR. SLATER: Cheryll, if you
   22 based on the requirements of laws and             22
                                                               have the next document, the EMA
   23 regulations, ZHP likewise conducted testing       23
                                                               document, the "Questions and answers
   24 of sodium nitrite.                                24
                                                               on the 'Guideline on the limits of


  Golkow Litigation Services                                                Page 8 (373 - 376)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 10 of
                                                      Protective      33
                                                                   Order
                            PageID: 98529
                                            Page 377                                            Page 379
    1      genotoxic impurities,'" I'd like to         1
                                                                (Whereupon, Exhibit Number
    2      pull that up, please.                     2
                                                           ZHP-207 was marked for
    3           MS. CALDERON: I would need a         3
                                                           identification.)
    4      minute on that, so...                     4
                                                       BY MR. SLATER:
    5           MR. SLATER: Forget it, then.         5
                                                           Q. What I'm going to do is -- this
    6      Let's go back -- let's take this          6
                                                       is dated September 23, 2010.
    7      document down and let's go back to the    7
                                                                MR. SLATER: I'd like to turn
    8      DMF, page 147, where we were before,      8
                                                           to the second page, please, Section 2.
    9      and then we're going to go from there     9
                                                           Q. And right in the middle of the
   10      to the FDA guidance document that's      10
                                                       page, it says -- it talks about levels of
   11      referenced, the FDA draft guidance.      11
                                                       mutagenic impurity right in the middle of the
   12 BY MR. SLATER:                                12
                                                       page, and what I want to focus on, where it
   13      Q. Going back to the discussion          13
                                                       talks about the standard of "as low as
   14 about genotoxicity, in the summary, after     14
                                                       reasonably practical" guideline, it says
   15 referencing the EMEA guideline, it also       15
                                                       ALARP considerations can apply "unless it is
   16 referenced FDA draft guideline "Genotoxic and 16
                                                       a structure of very high concern; for
   17 Carcinogenic Impurities in Drug Substances    17
                                                       example, N-nitroso compounds."
   18 and Products: Recommended Approaches," which 18
                                                                My question is this. ZHP knew
   19 it states "is applicable to the applications  19
                                                       in 2011 that N-nitroso compounds were
   20 for existing active substances."              20
                                                       structures of very high concern, correct?
   21           That was another guidance that      21
                                                           A. I would like to ask the
   22 was relied on in 2011 by ZHP in performing    22
                                                       plaintiffs' attorney what "ALARP" means. I
   23 its risk assessments of both TEA process with 23
                                                       don't understand what it means.
   24 sodium nitrite quenching and TEA process with 24
                                                           Q. As stated in Question 2 just
                                            Page 378                                            Page 380
    1 zinc chloride, correct?                          1
                                                          above what I read, it means "as low as
    2      A. Based on the FDA guideline               2
                                                          reasonably practicable."
    3 mentioned by the plaintiffs' counsel, which       3
                                                                   It actually says, to give you a
    4 is in English and is also shown on the            4
                                                          little more information, Question 2 starts
    5 screen, and based on the document shown now       5
                                                          out stating, "The guideline indicates that it
    6 on the screen, I am able to draw the same         6
                                                          is necessary to reduce a known or suspected
    7 conclusion.                                       7
                                                          mutagenic impurity to as low as reasonably
    8      Q. Can you read that first                   8
                                                          practicable (ALARP) even if the level is
    9 paragraph in English? Are you able -- I'm         9
                                                          below the threshold of toxicological concern
   10 not asking you to, but are you able to?          10
                                                          (TTC)."
   11      A. I can recognize certain words;           11
                                                                   I hope that helps.
   12 for example, "impurities," "FDA," "drug."        12
                                                               A. Okay. Thank you very much.
   13           MR. SLATER: Cheryll, you said          13
                                                          Could you repeat your question again?
   14      you found the EMA question and answer       14
                                                               Q. As stated on this page,
   15      document, so let's put that up first.       15
                                                          N-nitroso compounds are described as "a
   16      Okay.                                       16
                                                          structure of very high concern" as part of
   17           I've now put on the screen --          17
                                                          Section -- Question 2, the answer.
   18      before we get to the FDA guideline, I       18
                                                                   That was known to ZHP in 2011,
   19      have the EMA "Questions and answers on      19
                                                          correct?
   20      the 'Guideline on the limits of             20
                                                               A. In 2011, based on the knowledge
   21      genotoxic impurities'" up on the            21
                                                          of the authorities, the industry, and ZHP, we
   22      screen, which I think is Exhibit 207        22
                                                          conducted our corresponding work. For
   23      now.                                        23
                                                          example, for sodium nitrite, we added testing
   24           ///                                    24
                                                          of residual sodium nitrite in the validation


   Golkow Litigation Services                                              Page 9 (377 - 380)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 11 of
                                                      Protective      33
                                                                   Order
                            PageID: 98530
                                           Page 381                                         Page 383
    1   batches.                                      1
                                                       page; and, if possible, I would like
    2          MR. BALL: Peng, to the degree          2
                                                       interpreter to translate the context.
    3     you can answer the question he asked       3
                                                                 MR. SLATER: Great. Go off the
    4     in a yes or no, or if you have to          4
                                                           time.
    5     qualify it, that's fine.                   5
                                                                 It's the very bottom, number 3,
    6          And, Adam -- please don't             6
                                                           little three iii's. It says, "Yes,
    7     translate the rest of this,                7
                                                           genotoxicity testing."
    8     Dr. Shao -- Adam, we've gone about         8
                                                                 You can translate that for him
    9     75 minutes plus with translation, so       9
                                                           if you'd like.
   10     maybe we can try to get this question     10
                                                                 (Interpreter translating
   11     answered and take a break.                11
                                                           document to witness.)
   12          MR. SLATER: Okay.                    12
                                                           A. Now I'm clear. Thank you,
   13     A. Okay. Thank you.                       13
                                                       Interpreter.
   14 BY MR. SLATER:                                14
                                                                 MR. BALL: Back on the timer,
   15     Q. Did -- rephrase.                       15
                                                           please.
   16          Was ZHP aware in 2011 that           16
                                                                 MR. SLATER: Is he answering or
   17 N-nitroso compounds were structures to be of  17
                                                           is he talking?
   18 very high concern according to the European   18
                                                                 Okay. Let's go back on the
   19 Medicines Agency? Yes or no.                  19
                                                           timer.
   20     A. Your question is not a simple          20
                                                                 We're all talking over each
   21 answer that I can simply answer with a yes or 21
                                                           other. Let's stop for one second.
   22 no.                                           22
                                                           Sorry, Dr. Shao.
   23          In 2011, ZHP conducted               23
                                                       BY MR. SLATER:
   24 corresponding work based on the knowledge of 24
                                                           Q. We're back on the timer.
                                           Page 382                                         Page 384
    1                                                 1
      the authorities, the industry, and ZHP           Please answer the question.
    2                                                2
      valsartan zinc chloride process at that time.        A. I would like the question to be
    3                                                3
      The authorities also included EDQM.              repeated because it took some time for the
    4
               MR. SLATER: Go off the record. 4 translation. I'm sorry.
    5
               THE VIDEOGRAPHER: The time 5                Q. This says that N-nitroso
    6                                                6
          right now is 8:25 a.m. We're now off         compounds belong to a class of very potent
    7                                                7
          the record.                                  genotoxic carcinogens.
    8                                                8
               (Whereupon, a recess was                         You agree with that, correct?
    9                                                9
          taken.)                                               MR. BALL: Objection. Calls
   10
               THE VIDEOGRAPHER: The time 10               for opinion and expert testimony.
   11                                               11
          right now is 8:42 a.m. We're back on             A. From the plaintiffs' attorney's
   12                                               12
          the record.                                  statement as well as the interpreter's
   13                                               13
      BY MR. SLATER:                                   interpretation for the corresponding content,
   14                                               14
          Q. At the very bottom of page 2,             now I understand what it says on the screen
   15                                               15
      this refers to "a class of very potent           in English, which matches the statement of
   16
      genotoxic carcinogens," and that includes, 16 the plaintiffs' attorney.
   17                                               17
      according to this, N-nitroso compounds.                   However, I'm not a
   18                                               18
               You agree that a N-nitroso              toxicologist. I'm not able to provide a
   19                                               19
      compound is a very potent genotoxic              corresponding accurate judgment.
   20                                               20
      carcinogen, correct?                             BY MR. SLATER:
   21                                               21
               MR. BALL: Objection. Calls                  Q. What I just read was known to
   22                                               22
          for opinion.                                 ZHP in 2011, correct?
   23                                               23
          A. I need the plaintiffs' attorney               A. Are you referring to the third
   24                                               24
      to point out where that statement is on this     paragraph on the screen translated by the


   Golkow Litigation Services                                         Page 10 (381 - 384)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 12 of
                                                      Protective      33
                                                                   Order
                            PageID: 98531
                                            Page 385                                            Page 387
    1 interpreter just now by saying what I just       1  effort should be made to prevent the
    2 read?                                            2  formation of genotoxic or carcinogenic
    3     Q. Yes.                                       3 compounds during drug substance synthesis or
    4     A. As a corporate witness, based              4 drug product manufacturing."
    5 on the information I collected, after             5     A. I'm -- I was paying a lot of
    6 reviewing certain documents, ZHP did use this     6 attention to the interpreter's translation.
    7 regulatory document as a reference during         7 Can you please repeat your question?
    8 valsartan's zinc chloride process change in       8     Q. Do you agree with the statement
    9 2011.                                             9 that I just read to you from this FDA
   10          However, in my personal opinion         10 guidance document?
   11 as to whether the specific operator paid         11     A. As for this guidance document,
   12 attention to the third paragraph on the          12 in my personal opinion, since it is a legal
   13 screen that was just quoted by the               13 document, I'm not able to evaluate it with a
   14 plaintiffs' attorney, I cannot give an           14 simple yes or no.
   15 affirmative answer. In other words, I'm not      15     Q. Are you refusing to answer the
   16 sure.                                            16 question?
   17          However, during the valsartan           17          MR. BALL: Hold on. That's not
   18 zinc chloride process validation in 2011, ZHP    18     what he said. He said he can't answer
   19 did add testing for sodium nitrite.              19     your question. Maybe if you rephrased
   20          MR. SLATER: Let's take this             20     it.
   21     document down, and let's put up the          21          MR. SLATER: Really? Like four
   22     Guidance for Industry from the FDA.          22     or five times for the next half-hour,
   23          This is Exhibit 208. It's the           23     maybe?
   24     FDA Guidance for Industry regarding          24          MR. BALL: Adam, if that's what
                                            Page 386                                            Page 388
    1      Genotoxic and Carcinogenic Impurities       1   it takes, feel free. I can't help how
    2      in Drug Substances and Products:          2     you're asking questions.
    3      Recommended Approaches that was cited     3          MR. SLATER: I don't know why
    4      in the DMF update in December 2013.       4     you're -- I don't need to be
    5           (Whereupon, Exhibit Number           5     addressed. I'm looking at the
    6      ZHP-208 was marked for                    6     document. I don't need to be coached.
    7      identification.)                          7     Thank you.
    8           MR. SLATER: What I would like        8 BY MR. SLATER:
    9      to do now is turn to page 7, please.      9     Q. You realize -- well, rephrase.
   10 BY MR. SLATER:                                10          Does ZHP agree with the
   11      Q. Section IV is titled                  11 statement   that I read, quoting from the FDA
   12 "Recommended Approaches" -- let me rephrase 12 guidance document?
   13 that.                                         13     A. I think as for this FDA
   14           Looking now at Section IV-A,        14 guidance document, we as a company cannot say
   15 titled "Prevention of Genotoxic and           15 we agree or don't agree. Rather, we should
   16 Carcinogenic Impurity Formation," I'm going   16 conduct our work based on our current
   17 to read something, Mr. Dong, and I'm going to 17 knowledge as well as the requirement of this
   18 ask you to listen to this and tell me if ZHP  18 guidance document.
   19 agrees with this statement, okay?             19     Q. One feasible technical effort
   20           And I'm going to now read it.       20 to prevent -- rephrase.
   21 "Since drug-related impurities presumably     21          It would have been feasible to
   22 provide limited, if any, therapeutic benefits 22 perform gas chromatography-mass spectrometry
   23 and because of their potential to cause       23 to see if there were any nitrosamine
   24 cancer in humans, every feasible technical    24 impurities as part of the risk assessment.




   Golkow Litigation Services                                            Page 11 (385 - 388)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 13 of
                                                      Protective      33
                                                                   Order
                            PageID: 98532
                                                Page 389                                              Page 391
    1                                                       1            ZHP knew that in 2011, correct?
                   That would have been feasible,
    2                                                       2       A. I'm not quite sure what you
        correct?
    3                                                       3   mean by "excluded from the threshold
                MR. BALL: Objection.
    4                                                       4   approach."
           Speculative.
    5                                                       5       Q. ZHP knew in 2011 that N-nitroso
           A. In 2011, during the development
    6                                                       6   compounds such as NDEA and NDMA had extremely
      of valsartan zinc chloride process, ZHP
    7                                                       7   high carcinogenic potency, knew that in 2011,
      conducted our work based on the knowledge
    8                                                       8   correct?
      then.
    9                                                       9            MR. BALL: Objection. Calls
                However, at that time, the
   10                                                      10       for expert testimony.
      authorities, the industry, or ZHP did not
   11                                                      11   BY MR. SLATER:
      have any knowledge on the nitrosamine
   12                                                      12       Q. Answer the question, please.
      impurities, including its detection methods.
   13                                                      13       A. I would like to tell you that I
      BY MR. SLATER:
   14                                                      14   don't quite get your question. What form of
           Q. We'll come back to that.
   15                                                      15   knowledge are you referring to by ZHP knew in
                ZHP did use mass spectrometry
   16                                                      16   2011?
      to evaluate potential impurities as part of
   17                                                      17       Q. You're asking me to define what
      its risk assessment for the zinc chloride
   18                                                      18   it means to know something?
      process, correct?
   19                                                      19       A. I would like you to be more
           A. I'm sorry, but I do not
   20                                                      20   specific; for example, the form of the
      understand your question. I wonder if you
   21                                                      21   knowledge or the scope of the knowledge.
      can break this question into shorter ones
   22                                                      22       Q. This document was known to ZHP
      since it's a little bit too long to me, and
   23                                                      23   in 2011, and ZHP knew all the contents,
      then ask shorter questions one by one, or you
   24                                                      24   including that sentence I read, correct?
      can ask a more specific question.
                                                Page 390                                              Page 392
    1                                                       1
           Q. No, I don't think we're going                        A. I'm sorry. I need you to point
    2                                                       2
      to do that. We're not going to bleed the                out where the sentence you just referred to
    3                                                       3
      clock much longer on this one.                          is in this paragraph, and then I would like
    4                                                       4
                 MR. SLATER: Go to page 8, the                to ask the interpreter to translate for me.
    5                                                       5
           top of page 8, please, Cheryll.                              MR. SLATER: Go off the timer.
    6                                                       6
           Q. ZHP was aware from this                                   Dr. Shao, it's at the top, the
    7                                                       7
      document that N-nitroso structures "have                     carryover paragraph. There's a
    8                                                       8
      extremely high carcinogenic potency and are                  sentence that starts, "However, there
    9                                                       9
      excluded from the threshold approach," as it                 are some compounds."
   10                                                      10
      states at the bottom of the top carryover                         Do you see that?
   11                                                      11
      paragraph. ZHP knew that in 2011, correct?                        THE INTERPRETER: Yes.
   12                                                      12
           A. The interpreter already                                   MR. SLATER: It's that sentence
   13                                                      13
      provided me with a very clear translation;                   that I'm reading.
   14                                                      14
      however, I do not get your question because                       (Interpreter translating
   15                                                      15
      it's a little bit too long. Can you break                    document to witness.)
   16                                                      16
      into shorter ones or ask more specific                            THE INTERPRETER: The
   17                                                      17
      questions?                                                   interpreter is asked to translate the
   18                                                      18
           Q. From -- rephrase.                                    whole paragraph.
   19                                                      19
                 Based on this document -- well,                        MR. SLATER: Hey, I'm not the
   20                                                      20
      rephrase.                                                    guy trying to get out of Macao on
   21                                                      21
                 As stated in this document,                       Thursday night or Friday morning, so
   22                                                      22
      N-nitroso compounds "have extremely high                     if he wants you to translate -- you're
   23                                                      23
      carcinogenic potency and are excluded from                   talking about starting on the prior
   24                                                      24
      the threshold approach."                                     page? Go ahead. Have at it. You can


   Golkow Litigation Services                                                  Page 12 (389 - 392)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 14 of
                                                      Protective      33
                                                                   Order
                            PageID: 98533
                                           Page 393                                           Page 395
    1                                                 1           MR. SLATER: I was going to
           go back. As long as he wants to
    2                                                 2      say, possibly suggest to your client
           spend -- I don't know what else to
    3                                                  3     there's an easier way to do this.
           tell him. I mean, it's a really long
    4                                                  4          How about this. I'll do you a
           paragraph.
    5                                                  5     favor here. Let's go back on the
                (Interpreter translating
    6                                                  6     timer.
           document to witness.)
    7                                                  7 BY MR. SLATER:
           A. I believe I need to understand
    8                                                  8     Q. Does ZHP agree or disagree with
      the background or the context of this
    9                                                  9 the FDA's statement that N-nitroso compounds
      sentence in order to give you a response
   10                                                 10 have extremely high carcinogenic potency?
      that's accurate.
   11                                                 11          MR. BALL: Objection. Calls
      BY MR. SLATER:
   12                                                 12     for expert testimony.
           Q. You don't have to explain
   13                                                 13     A. May I proceed to answer?
      yourself to me if you want Dr. Shao to read
   14                                                 14          MR. BALL: Please.
      it to you. But we're not on the clock, and
   15                                                 15 BY MR. SLATER:
      we're not going to go until 3:00 o'clock in
   16                                                 16     Q. That would be wonderful.
      the morning tonight. So all I'm saying is
   17                                                 17     A. As a company, I don't think we
      we're probably going to be continuing Friday
   18                                                 18 can simply agree or disagree with FDA's
      night. That's all I'm saying.
   19                                                 19 corresponding guidelines. What we were
                MR. BALL: Adam, you don't get
   20                                                 20 supposed to do was to conduct the
           to make that decision.
   21                                                 21 corresponding work based on the requirements
                MR. SLATER: So we're just
   22                                                 22 of the laws and regulations at that time.
           going to go until 3:00 in the morning
   23                                                 23     Q. That includes conducting the
           tonight?
   24                                                 24 work in accordance with this guidance
                MR. BALL: No. We're going to
                                           Page 394                                           Page 396
    1                                                 1
                                                   document, correct?
          go the five hours of translation time
    2                                            2      A. From the document you just
          that you are allowed.
    3
               MR. SLATER: Okay. Well, thank 3 showed me on the screen, which was a document
    4                                            4 that ZHP submitted to FDA, I saw that
          you for telling me what I'm going to
    5                                            5 corresponding work was conducted using this
          do, but, you know, this --
    6                                            6 FDA's guidance document as a reference.
               MR. BALL: No, I'm not telling
    7                                            7           MR. SLATER: Cheryll, let's go
          you what you're going to do.
    8                                            8      to the last page of this document,
               MR. SLATER: We're going to do
    9                                            9      page 13, the Decision Tree Flow
          this for 15, 20 minutes now, this
   10                                           10      Diagram.
          paragraph, on a simple question.
   11                                           11      Q. Appendix A to this FDA guidance
               Maybe there's an easier way
   12                                           12 is a Decision Tree Flow Diagram, and the
          through this if you suggest -- well,
   13                                           13 first thing in the flow is to identify the
          you do whatever you want. I'm not
   14                                           14 impurity.
          going to --
   15                                           15           Do you see that at the top of
               MR. BALL: You already said I
   16                                           16 the flowchart?
          shouldn't coach you on how to ask
   17                                           17      A. Are you referring to the box on
          questions, Adam.
   18                                           18 top of this flowchart which has an English
               MR. SLATER: I'm sorry. I
   19                                           19 word followed by the word "impurity"?
          don't know how to ask questions?
   20                                           20      Q. Yes, I am.
               MR. BALL: I said you already
   21                                           21      A. I do see that box.
          suggested I should not help you ask
   22                                           22      Q. And you agree that in trying to
          questions.
   23                                           23 prevent genotoxic impurities, the most
               MR. SLATER: No, you shouldn't.
   24                                           24 important thing to do is to identify that the
               MR. BALL: So...


   Golkow Litigation Services                                           Page 13 (393 - 396)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 15 of
                                                      Protective      33
                                                                   Order
                            PageID: 98534
                                            Page 397                                           Page 399
    1 impurities are there, correct?                   1
                                                          not any high potency genotoxic group, such
    2      A. I disagree with your statement.          2
                                                          as, aflatoxin-like, N-nitroso-, and
    3 The work conducted involved many departments,     3
                                                          azoxy-compound has been included in these
    4 and it was very complex and complicated.          4
                                                          impurities."
    5 Therefore, it is not appropriate to say           5
                                                                   That was a statement based on
    6 certain work was very important or the most       6
                                                          the risk assessment performed in 2011,
    7 important.                                        7
                                                          correct?
    8      Q. If you don't identify the                 8
                                                              A. That's not correct.
    9 impurity -- withdrawn. It doesn't matter.         9
                                                                   MR. BALL: Adam, I just want to
   10 It's obvious.                                    10
                                                              make sure we went back on the timer.
   11           MR. SLATER: Let's go back to           11
                                                              A. With regard to your question
   12      the DMF, page 148 of the DMF, please,       12
                                                          quoting the sentence in English in the last
   13      Cheryll.                                    13
                                                          paragraph on the screen, as well as the
   14           Scroll up a little more.               14
                                                          information I collected through the
   15           Perfect.                               15
                                                          translation of the two paragraphs by the
   16      Q. Looking now at page 148 of the           16
                                                          interpreter, I believe ZHP had this statement
   17 DMF dated November 10, 2013, this is the         17
                                                          based on the impurities D and J, or "D to J
   18 Discussion on Impurities and the table of        18
                                                          and hydrolysis product," which is the prior
   19 organic impurities.                              19
                                                          sentence to the sentence you just quoted.
   20           MR. SLATER: What I'd like to           20
                                                          BY MR. SLATER:
   21      do is scroll down, please, to the text      21
                                                              Q. The basis of that statement was
   22      at the bottom of the page.                  22
                                                          the risk assessment that was conducted by
   23      Q. And this says in part, "there            23
                                                          ZHP, correct?
   24 is not any high potency genotoxic group, such    24
                                                              A. I would like you to clarify
                                            Page 398                                           Page 400
    1 as, aflatoxin-like, N-nitroso-, and              1
                                                          what you are referring to by that statement.
    2 azoxy-compound has been included in these        2
                                                                    MR. SLATER: Scroll up to the
    3 impurities." I'm going to stop there.             3
                                                               top of the table.
    4          That was part of the risk                4
                                                                    Perfect.
    5 assessment performed in 2011, that statement,     5
                                                               Q. At the top of the page where it
    6 correct?                                          6
                                                          says "Organic impurities," ZHP wrote in this
    7     A. I need you to point out which              7
                                                          document "All the potential organic
    8 paragraph and which sentence you just quoted.     8
                                                          impurities are demonstrated in Valsartan
    9 I would like the interpreter to translate the     9
                                                          listed as follows," and then there's that
   10 whole paragraph in order to understand the       10
                                                          whole table.
   11 context.                                         11
                                                                    And nowhere does it include
   12          MR. SLATER: Go off the timer.           12
                                                          NDMA, correct?
   13          It's the last paragraph on the          13
                                                               A. Where it says "all the
   14     page that starts, "Regarding of the          14
                                                          potential organic impurities" was based on
   15     impurity D-J."                               15
                                                          the knowledge and understanding at that time.
   16     A. Okay. Thank you, Interpreter.             16
                                                          That's the validation and the conclusion we
   17 I'm ready to answer a question.                  17
                                                          made.
   18     Q. Okay. Go ahead and answer the             18
                                                               Q. That was also based on the
   19 question, please.                                19
                                                          failure of the scientific analysis to be
   20     A. I'm sorry. It took some time              20
                                                          thorough in performing the risk assessment,
   21 for the interpreter to translate the             21
                                                          correct?
   22 document, so would you please repeat the         22
                                                                    MR. BALL: Objection. Calls
   23 pending question?                                23
                                                               for opinion.
   24     Q. The statement that "there is              24
                                                               A. What you said is not correct.


   Golkow Litigation Services                                            Page 14 (397 - 400)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 16 of
                                                      Protective      33
                                                                   Order
                            PageID: 98535
                                             Page 401                                            Page 403
    1          In 2011, when ZHP was                    1      for speculation and vague.
    2 conducting valsartan zinc chloride process        2            MR. SLATER: All right. I'll
    3 change, our work was based on the knowledge        3     ask it differently then.
    4 of the authorities, the industry, and ZHP at       4           Well, actually, no, I won't.
    5 the time.                                          5     I'll ask it differently but ask the
    6          The scientific method for the             6     same question.
    7 potential impurity analysis was also based on      7 BY MR. SLATER:
    8 the understanding and knowledge at that time.      8     Q. IARC monographs were well-known
    9 BY MR. SLATER:                                     9 in the scientific community by 2011, correct?
   10     Q. Bottom line -- withdrawn.                  10           MR. BALL: Objection. Calls
   11          MR. SLATER: Let's take this              11     for speculation.
   12     document down.                                12     A. I am not able to provide an
   13          This is a colorful one.                  13 accurate answer.
   14          By the way, are we at a break            14           As for the validation in the
   15     or should we keep going? Because I'm          15 scientific community, I believe it is beyond
   16     starting a new document.                      16 the scope of the topics I am designated to
   17          MR. BALL: We have roughly                17 testify on.
   18     27 minutes until we've got 70 minutes.        18 BY MR. SLATER:
   19          MR. SLATER: Oh, really? Okay.            19     Q. ZHP knew of the existence of
   20          MR. BALL: Yes.                           20 IARC monographs by 2011, correct?
   21          MR. SLATER: Great.                       21     A. I cannot provide you with an
   22          This is Exhibit 208, right?              22 accurate answer. By 2011, ZHP might have
   23     Wild guess?                                   23 known or might have not known the existence.
   24          THE STENOGRAPHER: 209.                   24 I haven't reviewed any related documents, so

                                             Page 402                                            Page 404
    1          MR. SLATER: Like I said, this            1
                                                           I cannot give you an accurate answer.
    2     is Exhibit 209.                               2
                                                               Q. What documents did you review
    3          (Whereupon, Exhibit Number                3
                                                           to prepare for this deposition?
    4     ZHP-209 was marked for                         4
                                                                    MR. BALL: Objection to the
    5     identification.)                               5
                                                               degree that it goes to --
    6 BY MR. SLATER:                                     6
                                                                    MR. SLATER: I didn't ask the
    7     Q. This is Exhibit 209, which is               7
                                                               question in a way that would invade on
    8 from the International Agency for Research on      8
                                                               privilege.
    9 Cancer, known as IARC, and it's the "IARC          9
                                                           BY MR. SLATER:
   10 Monographs on the Evaluation of the               10
                                                               Q. Answer the question.
   11 Carcinogenic Risk of Chemicals to Humans,         11
                                                                    MR. BALL: Adam, can I finish,
   12 Some N-Nitroso Compounds," and it's dated in      12
                                                               please? I get to make my -- you get
   13 the bottom left as May 1978.                      13
                                                               to ask your questions; I get to make
   14          MR. SLATER: If you could just            14
                                                               my objections.
   15     scroll up a little, Cheryll, please.          15
                                                                    Objection on the basis of the
   16     Q. IARC monographs --                         16
                                                               attorney/client privilege. To the
   17          MR. BALL: Adam, I can't see              17
                                                               degree they're documents that he
   18     the bottom.                                   18
                                                               reviewed with counsel, please don't
   19          There we go. Thank you.                  19
                                                               disclose those.
   20 BY MR. SLATER:                                    20
                                                                    MR. SLATER: That's an
   21     Q. IARC monographs were known in              21
                                                               inappropriate objection. I did not
   22 the scientific community well before and          22
                                                               ask him that. You're feeding
   23 certainly as of 2011, correct?                    23
                                                               something into it to try to convolute
   24          MR. BALL: Objection. Calls               24
                                                               the question.


   Golkow Litigation Services                                              Page 15 (401 - 404)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 17 of
                                                      Protective      33
                                                                   Order
                            PageID: 98536
                                           Page 405                                        Page 407
    1          MR. BALL: We're not. You                1         MR. SLATER: Okay.
    2     asked him what documents did he              2         THE VIDEOGRAPHER: Are we going
    3     review.                                      3   off the record?
    4          MR. SLATER: That's all I asked          4         MR. SLATER: Yes.
    5     him.                                         5         THE VIDEOGRAPHER: The time
    6          MR. BALL: Yes, and I'm telling          6   right now is 9:49 a.m. We're now off
    7     him he can answer to the extent they         7   the record.
    8     weren't documents that we showed him.        8         (Whereupon, a recess was
    9          MR. SLATER: That's an improper          9   taken.)
   10     instruction.                                10         THE VIDEOGRAPHER: The time
   11          MR. BALL: I disagree.                  11   right now is 10:06 a.m. We're back on
   12 BY MR. SLATER:                                  12   the record.
   13     Q. What documents did you review            13         MR. SLATER: That is not the
   14 to prepare for this deposition?                 14   document, Cheryll.
   15          MR. BALL: Same objection.              15         Cheryll, please take that down.
   16     A. As a corporate witness for this          16   Cheryll.
   17 deposition, I reviewed documents related to     17         MR. BALL: Adam, I didn't look
   18 our previous work; for example, the process     18   at it at all, I swear.
   19 change document that we have been discussing    19         MR. SLATER: It's our chat, but
   20 about over the past few days, validation        20   I hope it wasn't -- if it's recorded,
   21 documents, as well as batch records.            21   I'm going to ask to have it edited out
   22 BY MR. SLATER:                                  22   if possible. Do you mind?
   23     Q. Is that all you reviewed?                23         MR. BALL: No, I don't mind. I
   24     A. Since you're asking for all the          24   know that was a technological error.
                                           Page 406                                        Page 408
    1 documents, would ICH document be counted?        1
                                                           I'm not going to -- in the same way I
    2     Q. Yes.                                      2
                                                           don't think you want to see the texts
    3     A. I did review some ICH                     3
                                                           that I'm sending to Patrick during the
    4 documents. As for the others, it happened        4
                                                           deposition.
    5 some time ago, and I do not recall.              5
                                                                MR. SLATER: Unless you're
    6     Q. Are those documents that you              6
                                                           telling him what's going on in the
    7 reviewed in a file, either in paper or on        7
                                                           last four minutes of the Knicks game,
    8 computer?                                        8
                                                           which I'm now missing when it's a
    9     A. Some of the documents I                   9
                                                           two-point game, then no.
   10 reviewed, such as process procedures,           10
                                                                MR. BALL: I am not. Although
   11 changes, validations, batch records, are in     11
                                                           I am going to point out that it's the
   12 the hard-copy form stored in an archive.        12
                                                           women's final, NCA final, on next
   13     Q. Did you review any IARC                  13
                                                           Sunday for Mr. Gu -- for Dr. Gu, so I
   14 monographs?                                     14
                                                           find that highly disappointing.
   15     A. I'm sorry, my English is poor.           15
                                                                MR. SLATER: All right. Let's
   16 What do you mean by "IARC" or the English       16
                                                           go on the clock.
   17 word to that effect?                            17
                                                                And, Cheryll, let's go to
   18     Q. IARC, International Agency for           18
                                                           page 36, please.
   19 Research on Cancer.                             19
                                                                That's not the right page.
   20     A. Personally speaking, I haven't           20
                                                           That's page 38.
   21 reviewed this document.                         21
                                                                MS. CALDERON: You cut out.
   22         MR. BALL: Adam, we've probably          22
                                                           Can you repeat the page?
   23     gone long enough that the translator        23
                                                                MR. SLATER: Page 36.
   24     needs a break.                              24
                                                                Probably talking too soft as


   Golkow Litigation Services                                         Page 16 (405 - 408)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 18 of
                                                      Protective      33
                                                                   Order
                            PageID: 98537
                                             Page 409                                             Page 411
    1                                                   1
                                                       please, as to what you know right now,
          usual.
    2                                                2 speaking for ZHP?
      BY MR. SLATER:
    3                                                3          MR. SLATER: Actually, I'm not
          Q. Looking at the third paragraph,
    4                                                4     going to ask. I asked it twice; he
      the first sentence says, "It has been known
    5
      since 1865 that the reaction of dimethylamine 5      doesn't want to answer it. We'll seek
    6                                                6     our remedy.
      hydrochloride with sodium nitrite at an
    7                                                7          Once --
      acidic pH yields N-nitrosodimethylamine,"
    8                                                8          MR. BALL: Hold on. I'm sorry,
      which I think we can agree is NDMA.
    9                                                9     I was  muted.
                Did ZHP have that knowledge in
   10                                               10          I disagree with the proposition
      2011?
   11                                               11     that he doesn't want to answer it. He
                THE INTERPRETER: The
   12                                               12     tried to answer it.
          interpreter is asked to repeat the
   13                                               13          Maybe if you rephrase the
          rendition.
   14                                               14     question, Adam.
                MR. SLATER: One second. Is he
   15                                               15          MR. SLATER: It's not working.
          asking you to translate it for him?
   16                                               16     Every time I rephrase, I get another
                THE INTERPRETER: No.
   17                                               17     question back. So it's just -- it's
                MR. SLATER: All right. Go
   18                                               18     like -- it's fruitless. So I'll go to
          ahead, read it again.
   19                                               19     the next question.
                THE INTERPRETER: Signal is not
   20                                               20 BY MR. SLATER:
          stable, so the witness --
   21                                               21     Q. Once ZHP learned that there was
                MR. SLATER: Okay, it's fine.
   22                                               22 dimethylamine reacting with nitrous acid in
          It's fine. You don't have to explain,
   23                                               23 the zinc chloride process, ZHP knew that it
          Dr. Shao. You can just read it to
   24                                               24 had to optimize that process to prevent NDMA
          him.
                                             Page 410                                             Page 412
    1     A. In 2011, ZHP had no knowledge              1  from forming, correct?
    2 of the formation of NDMA during the valsartan     2      A. In 2011, ZHP had no knowledge
    3 zinc chloride process.                             3 of the formation of NDMA in valsartan zinc
    4          Considering the English                   4 chloride process.
    5 sentence you just quoted, by now ZHP has           5          MR. BALL: I think there's
    6 never manufactured valsartan using                 6     confusion there. I think he's asking
    7 dimethylamine hydrochloride in the process.        7     when they found out, what -- did they
    8     Q. The zinc chloride process was               8     take steps to optimize the process.
    9 yielding dimethylamine, which was then             9          Is that a fair
   10 reacting with nitrous acid to create NDMA,        10     characterization, Adam, of what you
   11 correct?                                          11     were asking?
   12     A. I would like you to clarify                12          MR. SLATER: Yes.
   13 which time frame or what context you're           13     A. If my attorney correctly
   14 referring to in your question.                    14 characterized your question, then my answer
   15     Q. The entire time ZHP                        15 would be as follows.
   16 manufactured valsartan with the zinc chloride     16          After June 2018, when ZHP found
   17 process, the process was yielding                 17 the NDMA impurity in the valsartan zinc
   18 dimethylamine, which was reacting with            18 chloride process, ZHP organized corresponding
   19 nitrous acid to form NDMA, correct?               19 departments and conducted corresponding work,
   20     A. During the development of                  20 including optimizing the process.
   21 valsartan zinc chloride process in 2011, ZHP      21 BY MR. SLATER:
   22 had no knowledge of the formation of NDMA in      22     Q. ZHP realized that it would
   23 the valsartan zinc chloride process.              23 never be appropriate to put dimethylamine
   24     Q. Can you answer my question,                24 with nitrous acid where those two substances




   Golkow Litigation Services                                              Page 17 (409 - 412)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 19 of
                                                      Protective      33
                                                                   Order
                            PageID: 98538
                                            Page 413                                            Page 415
    1 could react together, because there would be     1
                                                      to see if we have those documents. Doesn't
    2 a risk of creating NDMA, right?               2 sound familiar.
    3      A. Can you break this long               3          Were those notes? Rephrase.
    4 question into shorter ones and ask them one   4          What type of documents were
    5 by one --                                     5 they? Were they notes? Were they memos?
    6      Q. Sure.                                 6 Were they books? What were they?
    7      A. -- or be specific in your             7     A. The documents I reviewed are
    8 question? Because your question is a little   8 mostly the files retained by the company; for
    9 bit too long. I'm sorry.                      9 example, the process change documents where
   10      Q. No problem.                          10 Kai Yang put his signature on.
   11            I'm asking about the time         11     Q. Would ZHP have ever knowingly
   12 period of 2011.                              12 put dimethylamine and nitrous acid together
   13            MR. SLATER: Please tell him       13 as part of the manufacturing process for
   14      that.                                   14 valsartan?
   15      Q. First I want to ask about            15          MR. BALL: Objection. Calls
   16 dimethylamine.                               16     for speculation.
   17            MR. SLATER: Please tell him.      17     A. In 2011, during the valsartan
   18      Q. In 2011, ZHP knew that               18 zinc chloride process change, ZHP had no
   19 dimethylamine could react with nitrous acid  19 specific knowledge of the formation of NDMA
   20 to form NDMA. As a matter of chemistry, ZHP 20 in the valsartan zinc chloride process.
   21 knew that, correct?                          21          MR. SLATER: Cheryll, turn to
   22      A. I would like to ask you the          22     page 40, please.
   23 scope and the person you're referring to by  23     Q. This paragraph says in part
   24 "as a matter of chemistry."                  24 that "The principal techniques employed by

                                            Page 414                                            Page 416
    1                                                  1  the analysis of volatile N-nitrosamines have
          Q. The people in charge of the
    2                                                  2  been described in a recent publication," it
      risk assessments for the valsartan
    3                                                   3 gives the citation to Preussmann 1978, and
      manufacturing processes.
    4                                                   4 then refers to "The relative merits of high-
          A. The key person in charge of the
    5                                                   5 and low-resolution mass spectrometry...since
      risk assessment for valsartan zinc chloride
    6                                                   6 use of mass spectrometry as a confirmatory
      process in 2011 already left the company, so
    7                                                   7 technique is particularly important."
      I cannot offer my evaluation of his personal
    8                                                   8          You would agree with me,
      knowledge of chemistry as a corporate
    9                                                   9 knowing what you know now, that mass
      witness.
   10                                                  10 spectrometry is the best way to identify NDEA
               All I can do is to use the
   11                                                  11 and NDMA in valsartan, correct?
      documents that are available to me, such as
   12                                                  12          MR. BALL: Objection. Calls
      the process change, process validation, and
   13                                                  13     for speculation, expert opinion, and
      review them to find out about the
   14                                                  14     opinion.
      circumstances at that time.
   15                                                  15          MR. SLATER: Actually, I'm
          Q. Who is that person who left the
   16                                                  16     going to withdraw the question. I'm
      company?
   17                                                  17     withdrawing the question. I'm asking
          A. For example, the manager in the
   18                                                  18     it differently.
      technical department, Kai Yang, spelled as
   19                                                  19 BY MR. SLATER:
      K-A-I, last name Y-A-N-G.
   20                                                  20     Q. This paragraph refers to the
          Q. Did you review his notes and
   21                                                  21 use of high- and low-resolution mass
      his files?
   22                                                  22 spectrometry to identify volatile
          A. I did review some of the
   23                                                  23 N-nitrosamines.
      documents he approved.
   24                                                  24          You agree that is the proper
          Q. I guess we'll check our files


   Golkow Litigation Services                                             Page 18 (413 - 416)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 20 of
                                                      Protective      33
                                                                   Order
                            PageID: 98539
                                         Page 417                                            Page 419
    1                                                1
      method to identify NDEA and NDMA in                       (Cross-talking.)
    2                                                2
      valsartan, correct?                                       MR. BALL: No. I said it is
    3                                                3
               MR. BALL: Objection. Calls                  speculative and calls for expert
    4                                                4
          for speculation, calls for expert                opinion is a totally proper objection,
    5                                                5
          opinion.                                         given how you phrased the question.
    6                                                6
               MR. SLATER: It calls for the                     MR. SLATER: I don't understand
    7                                                7
          analytical process they employed.                why you want your client to hear that
    8                                                8
               MR. BALL: No. That's not what               you said that. He always repeats what
    9                                                9
          you asked, Adam. You did not ask what            you say.
   10                                               10
          did they employ. You asked if it's                    MR. BALL: Adam, I'm allowed
   11                                               11
          the best way to do it.                           make my objections, and he's allowed
   12                                               12
               MR. SLATER: Your objection is               to hear them.
   13                                               13
          not --                                                MR. SLATER: All right. Go
   14                                               14
               MR. BALL: You --                            ahead. I'm trying to get through
   15                                               15
               (Cross-talking.)                            this. I guess I can't.
   16                                               16
               MR. SLATER: Why are you                          MR. BALL: No, you're not. I
   17                                               17
          yelling over me?                                 just gave you the form of a question
   18                                               18
               MR. BALL: I'm not trying to                 that I would not object to.
   19                                               19
          yell over you. I'm trying to finish                   MR. SLATER: I'll ask a
   20                                               20
          my -- you interrupted me, and you                different question, then.
   21                                               21
          said, that's what I said, and that's                  I haven't asked the question
   22                                               22
          not what you said.                               yet, Dr. Shao.
   23                                               23
               MR. SLATER: You just said that                   THE INTERPRETER: Okay.
   24                                               24
          my question is speculative when you                   MR. SLATER: What did you want
                                         Page 418                                            Page 420
    1                                                1
         know that's exactly what they did.                to say?
    2                                                2
              MR. BALL: No, Adam, I didn't.                     THE INTERPRETER: Go ahead.
    3                                                3
         Your question was "Is it the best                      MR. SLATER: I don't know.
    4                                                4
         way." Then you said, "What I asked is             Were you asking me something or --
    5                                                5
         what did they use."                                    THE INTERPRETER: The
    6                                                6
              That's a totally different                   interpreter needs to re-log on to
    7                                                7
         question. If you want to ask what did             realtime. Can we just --
    8                                                8
         they use, that's not speculative.                      MR. SLATER: Off the record.
    9                                                9
              MR. SLATER: All right. Are we                Let's go off the record.
   10                                               10
         going to now -- I don't want this                      THE VIDEOGRAPHER: The time
   11                                               11
         interpreted for the witness.                      right now is 10:33 a.m. We're now off
   12                                               12
              MR. BALL: It doesn't need to                 the record.
   13                                               13
         be interpreted. I'm not asking --                      (Whereupon, a recess was
   14                                               14
              MR. SLATER: Then let's have                  taken.)
   15                                               15
         him answer.                                            THE VIDEOGRAPHER: The time
   16                                               16
              MR. BALL: I do want my                       right now is 10:36 a.m. We're back on
   17                                               17
         objection interpreted, though.                    the record.
   18                                               18
              MR. SLATER: Why?                         BY MR. SLATER:
   19                                               19
              MR. BALL: Because it's                       Q. You stated earlier that back in
   20                                               20
         speculative the way you formed the            2011, at that time nobody had any knowledge
   21                                               21
         question.                                     on nitrosamine impurities, including its
   22                                               22
              MR. SLATER: Why does he need             detection methods.
   23                                               23
         to know what you're saying? So he can                  However, here in a 1978 IARC
   24                                               24
         then --                                       monograph, it specifically says here that the


   Golkow Litigation Services                                         Page 19 (417 - 420)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 21 of
                                                      Protective      33
                                                                   Order
                            PageID: 98540
                                            Page 421                                         Page 423
    1                                                  1
                                                      know where it is in the paragraph when you've
      principal techniques used are high- and
    2                                               2 already told us under oath that you can't
      low-resolution mass spectrometry.
    3                                               3 read this language?
               MR. BALL: Objection. That
    4                                               4     A. I did say that I cannot read
          mischaracterizes his earlier
    5                                               5 English. That's a fact. However, I believe
          testimony.
    6                                               6 I'm entitled to know that statement was
               Go ahead and answer.
    7                                               7 indeed included in a publication in 1978. I
      BY MR. SLATER:
    8                                               8 want to confirm it is a fact.
          Q. Correct?
    9                                               9     Q. Okay. Then why don't you do
               Wait. Actually, I'll ask it
   10                                              10 this, Mr. Dong.
      differently, then.
   11                                              11          Do you see this paragraph in
               This publication in 1978 says
   12                                              12 front of us? Why don't you read what you can
      that the principal technique to analyze
   13
      volatile nitrosamines, which would include 13 of that paragraph. Since you're going to
   14                                              14 confirm it, confirm it out loud for us,
      NDMA and then DMA, is high- and
   15                                              15 please. You'll see it in the fifth line,
      low-resolution mass spectrometry.
   16                                              16 sixth line, you'll see it. Fifth line.
               Did ZHP know that in 2011?
   17                                              17          MR. BALL: Objection.
          A. I would like to ask you what
   18                                              18     Harassment.
      publication you're referring to that's
   19                                              19          MR. SLATER: It's not
      published in 1978. Is that the document
   20                                              20     harassment.
      that's presented on the screen?
   21                                              21          MR. BALL: It is.
          Q. Yes.
   22                                              22          MR. SLATER: The witness said
          A. Can you point out which
   23                                              23     he wants to confirm this by reading it
      sentence on this paragraph you are referring
   24                                              24     himself, so I'm telling him --
      to?
                                            Page 422                                         Page 424
    1                                                  1
           Q. Why? Can you read English?                             MR. BALL: No, he did not say
    2                                                  2
           A. You just mentioned about the                    he wanted to --
    3                                                   3
      high-resolution mass spectrometry. I want to        BY MR. SLATER:
    4                                                   4
      make sure high-resolution mass spectrometry             Q. It's the fifth line.
    5                                                   5
      is indeed referred to in this paragraph.                       MR. BALL: He did not say he
    6                                                   6
           Q. But if I show you where it is                   wanted to read it himself. That
    7                                                   7
      in the paragraph, if you can't read English,            mischaracterizes what he said. He
    8                                                   8
      how is that going to help you for me to point           said he'd like you to tell him where
    9                                                   9
      out where it is?                                        it is.
   10                                                  10
           A. At least I can confirm that it                         Tell him where it is, and we
   11                                                  11
      was indeed mentioned in the publication in              can go on.
   12                                                  12
      1978.                                                          MR. SLATER: Great. It's in
   13                                                  13
           Q. But you don't read English, so                  the fifth line, it starts.
   14                                                  14
      how is it going to help you for me to point             A. Could you repeat your question?
   15                                                  15
      out where it says it in this paragraph? Are         Had that not been the discussion, I would
   16                                                  16
      you going to read it?                               have recalled the question.
   17                                                  17
           A. I just want to confirm that                 BY MR. SLATER:
   18                                                  18
      what you just said is indeed included in the            Q. I have no idea what my question
   19                                                  19
      publication in 1978, rather than your own           was. You totally distracted me. You
   20                                                  20
      understanding and judgment.                         defeated me on that one.
   21                                                  21
           Q. Mr. Dong, I would appreciate it                        MR. SLATER: Maureen, if you
   22                                                  22
      if you would actually answer my question.               can find that for me, can you remind
   23                                                  23
               Do you speak English?                          me what my question was, please?
   24                                                  24
               Let me -- why are you asking to                       ///


   Golkow Litigation Services                                           Page 20 (421 - 424)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 22 of
                                                      Protective      33
                                                                   Order
                            PageID: 98541
                                           Page 425                                            Page 427
    1                                                 1           Thank you.
               (Whereupon, the reporter read
    2                                                 2       Q. Here on the page with Bates
          back the requested question.)
    3                                                  3 number 75798, there's a list of people who
          A. In 2011, ZHP had no knowledge
    4                                                  4 reviewed and approved this report. Your name
      of the formation of NDMA in valsartan zinc
    5                                                  5 appears, and you signed this report, correct?
      chloride process.
    6                                                  6      A. That's correct. As shown on
               When nobody had such knowledge,
    7                                                  7 the screen, on the third line my name was
      there was no reason to adopt additional
    8                                                  8 listed here. I did review and approve this
      method to test unexpected impurities or the
    9                                                  9 report.
      impurities that we were unable to speculate.
   10                                                 10          MR. SLATER: Let's go to page 5
      That is basically beyond our expectation.
   11                                                 11      of 236.
               As for your statement that I
   12                                                 12      Q. Section 3.1.1 is the "NDMA
      successfully distracted you just now, that's
   13                                                 13 Event Description."
      not true. I was merely asking you to be more
   14                                                 14          Do you see that?
      specific and clear for your questions.
   15                                                 15      A. I see it under 3.1.1. There's
      BY MR. SLATER:
   16                                                 16 a Chinese sentence which says "Valsartan
          Q. So you won't answer my
   17                                                 17 (zinc chloride process) NDMA Event General
      question?
   18                                                 18 Description."
          A. I believe I've already provided
   19                                                 19      Q. In the first paragraph it
      a response to your question.
   20                                                 20 refers to -- rephrase.
               In 2011, during the development
   21                                                 21          At the end of the first
      of valsartan zinc chloride process, ZHP did
   22                                                 22 paragraph, it says, "Please refer to
      not have any specific knowledge of the
   23                                                 23 Deviation Investigation No.: DCE-18001 for
      formation of NDMA in the valsartan zinc
   24                                                 24 details."
      chloride process.
                                           Page 426                                            Page 428
    1          When nobody had such specific          1       My question is, have you seen
    2 knowledge, I don't believe we take into      2 that report in Chinese, meaning in the
    3 consideration any further approaches.        3 Chinese language, DCE-18001?
    4          MR. SLATER: Okay. Let's take        4     A. I did review the deviation
    5     this document down. I give up. Move      5 investigation report with the number
    6     on to the next thing.                    6 DCE-18001.
    7          Take that down, Cheryll. Let's      7     Q. In the Chinese language?
    8     go to the other document that I          8     A. I only read the Chinese
    9     started to identify before, the          9 version. I do not recall whether the
   10     deviation -- perfect.                   10 document I reviewed was only the Chinese
   11          (Whereupon, Exhibit Number         11 version or the bilingual version in both
   12     ZHP-210 was marked for                  12 Chinese and English.
   13     identification.)                        13     Q. The second paragraph says in
   14 BY MR. SLATER:                              14 part, "Due to the fact that NDMA is a
   15     Q. Exhibit 210. Mr. Dong, you've        15 recently found unexpected impurity with the
   16 seen this document before, correct?         16 nature of probable carcinogen, the incident
   17     A. I did review a deviation             17 of the deviation has received great attention
   18 investigation report with the number        18 from Huahai's top management."
   19 DCE-18003. However, I cannot be 100 percent 19          Does top management go all the
   20 sure the document I reviewed was completely 20 way up to Baohua Chen? Did he give his great
   21 consistent with the document shown on the   21 attention to this issue?
   22 screen.                                     22          MR. BALL: Adam, can you scroll
   23          MR. SLATER: Let's go to the        23     down, please? I can't read. You have
   24     next page, Cheryll.                     24     to scroll down. I can't see it.


   Golkow Litigation Services                                            Page 21 (425 - 428)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 23 of
                                                      Protective      33
                                                                   Order
                            PageID: 98542
                                            Page 429                                             Page 431
    1     A. I'm sorry, I don't know who               1
                                                                   (Whereupon, the reporter read
    2 you're referring to by "Baohua Chen."            2
                                                              back the above answer.)
    3     Q. Mr. Chen, the chairman of ZHP.             3
                                                          BY MR. SLATER:
    4     A. Are you referring to the                   4
                                                              Q. Were you in charge of the --
    5 chairman of ZHP Baohua Chen, spelled as           5
                                                          actually, you know what, we'll get to that.
    6 B-O-H-U-A, C-H-E-N?                               6
                                                          We'll get to that.
    7     Q. Yes.                                       7
                                                                   MR. SLATER: Let's go to
    8     A. Now I understand. I believe                8
                                                              page 60, please.
    9 there was a misspelling in the English            9
                                                                   MR. BALL: Adam, we have about
   10 version. That's why I didn't hear very           10
                                                              five minutes before the next break.
   11 clearly. I'm sorry.                              11
                                                                   MR. SLATER: So what do you
   12          I'm sorry. Can you repeat your          12
                                                              want to do?
   13 question?                                        13
                                                                   MR. BALL: It's up to you. I'd
   14     Q. You don't remember my question?           14
                                                              like to talk to you. We can go off
   15     A. I'm sorry. We just had some               15
                                                              the record now --
   16 discussion about a person's name. I do not       16
                                                                   MR. SLATER: All right. Let's
   17 recall the question. I'm sorry.                  17
                                                              go off the record.
   18     Q. When this paragraph refers to             18
                                                                   MR. BALL: I just need to
   19 the issue having "received great attention       19
                                                              clarify something with you.
   20 from Huahai's top management," does that         20
                                                                   THE VIDEOGRAPHER: The time
   21 include Mr. Chen, the chairman of ZHP?           21
                                                              right now is 11:07 a.m. We're now off
   22     A. I believe after this incident             22
                                                              the record.
   23 happened, some company leaders reported this     23
                                                                   (Whereupon, a recess was
   24 incident to Mr. Chen.                            24
                                                              taken.)
                                            Page 430                                             Page 432
    1     Q. Do you know who did that?                 1
                                                                    THE VIDEOGRAPHER: The time
    2     A. I don't know. Actually, there             2
                                                              right now is 11:20 a.m. We're back on
    3 are quite a few levels between my pay level       3
                                                              the record.
    4 and Mr. Chen.                                     4
                                                          BY MR. SLATER:
    5     Q. You said people informed him.              5
                                                              Q. Section 4 -- rephrase.
    6 Which people?                                     6
                                                                    Table 4-2 is titled
    7     A. I don't know who specifically              7
                                                          "Differences in different Valsartan
    8 informed him. However, with regard to the         8
                                                          manufacturing process."
    9 seriousness of this incident, to the best of      9
                                                                    Do you see that?
   10 my understanding, there must be someone who      10
                                                              A. I see it.
   11 reported this incident to Mr. Chen.              11
                                                                    MR. SLATER: Let's go to the
   12     Q. This says a little further                12
                                                              next page, please, page 61.
   13 down, "NDMA reference standard was               13
                                                                    Scroll down, please.
   14 immediately purchased and the identity of the    14
                                                                    More. I want the bottom box.
   15 impurity was confirmed as NDMA by GC-MS          15
                                                                    Yes, perfect. Okay.
   16 method."                                         16
                                                              Q. There's a box that says "TEA
   17          Do you see that? Yes or no.             17
                                                          process (with sodium nitrite quenching)."
   18 Do you see that? Yes or no.                      18
                                                                    Do you see that?
   19     A. On the screen I do see the                19
                                                                    This was the process used
   20 sentence referred to by you. It is one of        20
                                                          before the zinc chloride process was put into
   21 the sentences in the Deviation Investigation     21
                                                          effect, right?
   22 Report with the number DCE-18003.                22
                                                              A. I'm sorry. Are you referring
   23          MR. SLATER: Maureen, could you          23
                                                          to the box that says "TEA process (with
   24     read that answer back to me, please?         24
                                                          sodium nitrite quenching)"? Are you


   Golkow Litigation Services                                             Page 22 (429 - 432)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 24 of
                                                      Protective      33
                                                                   Order
                            PageID: 98543
                                            Page 433                                               Page 435
    1                                                   1   deviation investigation report shown on the
      referring to this box?
    2                                                   2   screen, I do see such description.
          Q. Yes. That's exactly what I
    3                                                   3        Q. And based on ZHP's evaluation,
      just identified for you a question ago.
    4                                                   4   that actually was occurring, correct? That's
          A. Yes, I see it.
    5                                                   5   how NDMA and NDEA were being formed, with the
          Q. Did you study English at
    6                                                   6   TEA process with sodium nitrite quenching,
      university?
    7                                                   7   right?
          A. I did study English at college;
    8                                                   8        A. I'm sorry, your question is a
      however, I did poor in English class.
    9                                                   9   little bit too long, and I didn't quite get
          Q. Did you have to demonstrate
   10                                                  10   your question.
      English proficiency in order to graduate?
   11                                                  11             What are you referring to by
          A. I'm sorry to tell you that in
   12                                                  12   "that actually was occurring"? What's
      order to graduate from a college in China,
   13                                                  13   "that"?
      you have to pass level 4 English test. For
   14                                                  14        Q. Number 3 describes the root
      that test, I took six or seven times until
   15                                                  15   cause for the NDMA and NDEA impurities in the
      finally I passed that test. I'm sorry.
   16                                                  16   TEA process with sodium nitrite quenching
          Q. Did you read English language
   17                                                  17   valsartan, correct?
      material when you were studying chemistry?
   18                                                  18        A. With regard to the NDEA and
          A. Are you referring to my time in
   19                                                  19   NDMA impurities that were generated from the
      college?
   20                                                  20   TEA process of valsartan, in 2018, after NDMA
          Q. Yes.
   21                                                  21   impurity was discovered in valsartan, ZHP
          A. No.
   22                                                  22   conducted the process deviation
          Q. Let's look at this box now.
   23                                                  23   investigation, and this was one of the
      Rephrase.
   24                                                  24   findings in the investigation.
               We're looking now at the "TEA
                                            Page 434                                               Page 436
    1                                                   1     Q. The risk assessment for TEA
      process (with sodium nitrite quenching)."
    2                                                   2 process with sodium nitrite quenching failed
      And it first says, number 1, "Triethylamine
    3                                                   3 to disclose this potential risk for this
      hydrochloride was used as catalyst. Sodium
    4                                                   4 contamination as described in number 3,
      nitrite was used for quenching after
    5                                                   5 correct?
      reaction." Correct?
    6                                                   6     A. In 2011, the authorities, the
          A. On the right column in the box
    7                                                   7 industry, and ZHP did not have any knowledge
      of "TEA process," I do see description in
    8                                                   8 regarding the formation of nitrosamines in
      Chinese that's basically consistent with your
    9                                                   9 the valsartan TEA process.
      quote.
   10                                                  10     Q. Answer my question, please.
          Q. Number 2 says, "No DMF solvent
   11                                                  11     A. I believe I've already offered
      is added in crude step, and no dimethylamine
   12                                                  12 my response to your question.
      will be degraded."
   13                                                  13     Q. ZHP failed to identify the risk
               Do you see that?
   14                                                  14 of these impurities forming as part of its
          A. Yes. In the line of "TEA
   15                                                  15 risk assessment for the TEA process with
      process" on the third column from left, I do
   16                                                  16 sodium nitrite quenching, correct?
      see your description in Chinese.
   17                                                  17     A. In 2011, the authorities, the
          Q. Number 3 says, "Triethylamine
   18                                                  18 industry, or ZHP did not have any knowledge
      hydrochloride may contain diethylamine and
   19                                                  19 of the formation of nitrosamines in the
      dimethylamine, react with nitrous acid
   20                                                  20 valsartan triethylamine process.
      (formed by sodium nitrite and hydrochloric
   21                                                  21          MR. BALL: Adam, I think he's
      acid) during the next quenching reaction, and
   22                                                  22     trying to answer your question. Would
      NDMA and NDEA may be formed."
   23                                                  23     you like me to rephrase it in a way he
               Do you see that?
   24                                                  24     might be able to answer it more
          A. Yes, I see it. In the


   Golkow Litigation Services                                               Page 23 (433 - 436)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 25 of
                                                      Protective      33
                                                                   Order
                            PageID: 98544
                                           Page 437                                         Page 439
    1                                                 1
          easily?                                     says, starting with number 2, "Zinc chloride
    2                                               2
                MR. SLATER: If it's going to          is used as catalyst for the crude step of
    3                                               3
          help.                                       valsartan (zinc chloride process)."
    4                                               4
                MR. BALL: I think it might.                    Do you see that?
    5                                               5
                In 2011, did ZHP identify that             A. Yes, I see that. What you just
    6
          NDMA or NDEA could be formed as part 6 described is one of the sentences in the box
    7                                               7
          of the TEA process when it conducted        of the zinc chloride process on the third
    8                                               8
          its risk analysis?                          column.
    9                                               9
                And that's a yes -- if he can              Q. Number 3 says, "DMF solvent was
   10                                              10
          answer that yes or no, we would all         added in the crude step. DMF was degraded
   11                                              11
          appreciate it.                              into dimethylamine, react with nitrous acid
   12                                              12
          A. I would like to ask you whether          (formed by sodium nitrite and hydrochloric
   13                                              13
      my attorney correctly characterized your        acid) during the next quenching reaction, and
   14                                              14
      question or what you wanted to ask.             NDMA may be formed."
   15                                              15
      BY MR. SLATER:                                           Do you see that?
   16                                              16
          Q. Yes, please answer it with a                  A. Yes, I see that as part of the
   17                                              17
      yes or no.                                      content under number 3 in the line of "Zinc
   18                                              18
                THE INTERPRETER: The                  chloride process" under the column of -- the
   19                                              19
          interpreter is asked to repeat the          first column from the right.
   20                                              20
          rendition of the question provided by            Q. That is the root cause for the
   21                                              21
          the witness attorney.                       NDMA contamination of the zinc chloride
   22
          A. In 2011, when ZHP conducted the 22 process valsartan, correct?
   23
      risk assessment for the TEA process, ZHP did 23      A. What you just said, "NDMA
   24                                              24
      not identify tri- -- did not identify           contamination," I need to point out that
                                           Page 438                                         Page 440
    1                                                 1
                                                      NDMA, rather, is an impurity formed in the
      nitrosamines as potential impurities. That
    2                                               2 valsartan zinc chloride process. It is not a
      was based on the knowledge of the
    3                                               3 contaminant. We did not have such knowledge
      authorities, the industry, and ZHP at that
    4                                               4 until June 2018.
      time.
    5                                               5          As for the definitions for the
          Q. ZHP certainly knew by 2011 --
    6                                               6 impurities and the contaminants,
      rephrase.
    7                                               7 respectively, you may find accurate
               ZHP knew in 2011 that the
    8                                               8 descriptions in ICH Q3A.
      reaction of dimethylamine and a nitrosating
    9
      agent such as nitrous acid could form NDMA, 9        Q. Number 4 says, "Without
   10                                              10 introducing triethylamine, diethylamine would
      correct?
   11                                              11 not be introduced and no NDEA would be
          A. In 2011, ZHP did not have any
   12
      knowledge of the formation of nitrosamine in 12 formed."
   13                                              13          Do you see that?
      the valsartan zinc chloride process or the
   14                                              14      A. I see that under number 4 in
      TEA process.
   15                                              15 the box of "Zinc chloride process" under the
               MR. SLATER: Let's go to the
   16                                              16 first column from right.
          next page, the box at the top half of
   17                                              17      Q. The reason that is referred to
          the page, please.
   18                                              18 there is because the triethylamine with the
               Excellent.
   19                                              19 sodium nitrite quenching process was
          Q. This box now addresses the zinc
   20                                              20 combining with nitrous acid, NDEA, in that
      chloride process.
   21                                              21 process, correct?
               Do you see that?
   22                                              22      A. The interpreter's translation
          A. Yes. I see that on the screen
   23                                              23 was very clear; however, I do not understand
      there's a box for the zinc chloride process.
   24                                              24 your question. Could you be more specific or
          Q. And on the right-hand side this


   Golkow Litigation Services                                         Page 24 (437 - 440)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 26 of
                                                      Protective      33
                                                                   Order
                            PageID: 98545
                                            Page 441                                            Page 443
    1                                                  1  question.
      clear?
    2                                                  2          Why is sentence number 4 there?
          Q. Why is that sentence --
    3                                                   3 What is that communicating to us?
      rephrase.
    4                                                   4     A. After reviewing part of this
               What is the purpose of that
    5                                                   5 document, I found out that this table is
      sentence, number 4? Why is that stated?
    6                                                   6 actually describing the differences between
          A. In this box under number 4, I
    7                                                   7 different valsartan processes.
      do see what you just talked about.
    8                                                   8         In the table analysis, the
               As for the reason why this
    9                                                   9 formation of nitrosamines was conducted for
      sentence is here, I need to have a quick
   10                                                  10 different valsartan processes. That was
      review of the context in order to provide you
   11                                                  11 based on the knowledge that ZHP did not
      with an answer.
   12                                                  12 obtain until June 2018.
               MR. SLATER: Let's go off the
   13                                                  13         More specifically, regarding
          clock.
   14                                                  14 number 4, in my personal opinion, maybe that
          A. Can you scroll up a little bit?
   15                                                  15 is because comments on the specific impurity
      I need to read the content above this box.
   16                                                  16 was made in the previous process analysis;
      Just scroll up until I see the first page.
   17                                                  17 therefore, comments on NDEA is also included
               MR. BALL: I think he's talking
   18                                                  18 here. That's my personal opinion.
          the other direction. The other
   19                                                  19     Q. When you say this was not known
          direction.
   20                                                  20 in 2011, are you saying it was not known that
               There we go.
   21                                                  21 amines, A-M-I-N-E-S, had been demonstrated to
               MR. SLATER: I'm glad you're
   22                                                  22 react with nitrous acid to produce
          doing this, Cheryll, and not me.
   23                                                  23 nitrosamines?
          A. Keep going. Keep going until I
   24                                                  24         MR. BALL: Objection. Vague.
      see the top of this table.
                                            Page 442                                            Page 444
    1                                                  1
              MR. BALL: There we go.                  A. Are you referring to 2011? I
    2                                           2
         A. Just keep going.                      just want to confirm time frame.
    3                                           3
              MR. BALL: I think she may have      BY MR. SLATER:
    4                                           4
         gone too far. He said he wanted to           Q. Yes.
    5                                           5
         see the top of the table.                    A. In 2011, ZHP did not have any
    6                                           6
         A. Keep going.                           knowledge of the formation of nitrosamine in
    7                                           7
              MR. SLATER: The top of the          the valsartan manufacturing processes,
    8                                           8
         table is on page 60.                     including valsartan zinc chloride process and
    9                                           9
              MR. BALL: Okay. Thank you.          valsartan TEA quenching process. This
   10                                          10
         Thank you. Adam.                         applies to the industry and the authority at
   11                                          11
         A. I need to see. I need to see          that time, too.
   12
      what's above this Table 4-2. Keep going. 12     Q. I'll try it again.
   13                                          13
              Keep going. Keep going.                      Are you saying that ZHP did not
   14                                          14
              That's it.                          know in 2011 that amines, A-M-I-N-E-S, had
   15                                          15
              I finished reviewing.               been demonstrated to react with nitrous acid
   16                                          16
              MR. BALL: We can go back on         to produce N-nitrosamines?
   17                                          17
         the clock, please.                           A. I've already provided an answer
   18                                          18
              MR. SLATER: Wait, let's get to      to your  question. If you want to try the
   19                                          19
         the spot first. Hang on.                 same question again, could you please
   20                                          20
              MR. BALL: Okay.                     clarify, when you say "amines," are you
   21                                          21
              MR. SLATER: Almost there.           referring to the primary amines, secondary
   22                                          22
              Bingo.                              amines, or tertiary amines? Are you
   23                                          23
      BY MR. SLATER:                              referring to amines with certain molecular
   24                                          24
         Q. Okay. Please answer the               weights?


   Golkow Litigation Services                                             Page 25 (441 - 444)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 27 of
                                                      Protective      33
                                                                   Order
                            PageID: 98546
                                            Page 445                                            Page 447
    1                                                  1
                                                       BY MR. SLATER:
           Q. Any amines, you tell me, which
    2                                                2      Q. Was ZHP -- rephrase.
      ZHP knew about that could react with nitrous
    3                                                3          In ZHP's thorough scientific
      acid to produce nitrosamines in 2011.
    4                                                4 analysis during its risk assessment for the
           A. I just asked to you clarify
    5
      certain vague terms in your question in order 5 TEA process with sodium nitrite quenching and
    6                                                6 for the zinc chloride process in 2011, did
      for me to provide you with a more accurate
    7                                                7 the risk assessment team read this article?
      response.
    8                                                8      A. As to whether ZHP's valsartan
                Based on the current knowledge
    9                                                9 risk assessment team read this article in
      regarding the formation of nitrosamines, not
   10
      all forms of amines would form nitrosamine. 10 2011, as you asked, I am unable to provide an
   11                                               11 accurate response because this is the first
      That's the knowledge we have as of now.
   12                                               12 time I ever see this document.
                Maybe in 100 years or
   13
      500 years, the investment of the science and 13           Based on the information I
   14                                               14 collected as well as the documents I reviewed
      technology will provide us with new
   15                                               15 as a corporate witness, in 2011 ZHP had no
      discoveries. Maybe.
   16                                               16 knowledge of the formation of nitrosamines in
                MR. SLATER: Cheryll, I don't
   17                                               17 valsartan manufacturing process, which
           want to lose this page, but I'd like
   18                                               18 include zinc chloride process as well as the
           to bring up an article that I think
   19                                               19 TEA process.
           you have now, and I think we're up to
   20                                               20      Q. Is diethylamine a secondary or
           Exhibit 211.
   21                                               21 tertiary amine?
                Perfect.
   22                                               22      A. From the chemistry's
                (Whereupon, Exhibit Number
   23                                               23 perspective, the diethylamine is a secondary
           ZHP-211 was marked for
   24                                               24 amine.
           identification.)
                                            Page 446                                            Page 448
    1 BY MR. SLATER:                                   1       Q. Is dimethylamine also a
    2      Q. On the screen is Exhibit 211,            2  secondary amine?
    3 which is a journal article published in the       3      A. That's correct. The
    4 "Journal of Physical Chemistry" in 2010,          4 dimethylamine is also a secondary amine.
    5 titled "Theoretical Investigation of              5      Q. This says in the second
    6 N-Nitrosodimethylamine Formation from             6 paragraph, "Because dialkylnItrosamines are
    7 Nitrosation of Triethylamine."                    7 of great interest in carcinogenesis, much
    8            And the authors' names are Zhi         8 attention has been focused on their formation
    9 Sun, Yong Dong Liu, and Ru Gang Zhong, and it     9 mechanism, especially from secondary amines."
   10 says they're from the College of Life Science    10 I'm going to stop there.
   11 & Bioengineering, Beijing University of          11           They say "much attention has
   12 Technology in Beijing, and that this was         12 been focused on their formation...from
   13 received by this journal June 16, 2009, and      13 secondary amines." Was any attention focused
   14 then it was received again in November 2009,     14 on their formation mechanism from secondary
   15 and it was on the web published December 16,     15 amines by ZHP in 2011?
   16 2009.                                            16      A. What ZHP was focusing on in
   17            MR. SLATER: And that last             17 2011 was to produce products with quality
   18      thing I said about the publication          18 specifications that would be in compliance
   19      date is at the bottom, so, Cheryll, in      19 with the ICH requirement, and ZHP's knowledge
   20      fairness, please scroll to the bottom       20 at that time, including the valsartan
   21      so Mr. Ball can see it. And I'm sure        21 products.
   22      it's in our chat, too.                      22           As for the research of the
   23            MR. BALL: Thank you.                  23 formation mechanism of nitrosamines, I
   24            MR. SLATER: No problem.               24 believe it was the interest of independent




   Golkow Litigation Services                                             Page 26 (445 - 448)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 28 of
                                                      Protective      33
                                                                   Order
                            PageID: 98547
                                            Page 449                                            Page 451
    1 academic people.                                 1
                                                                   What I mean is that these
    2           Also, based on what you have           2
                                                          chemicals are not the raw materials used in
    3 just said and what has been translated to me      3
                                                          the process.
    4 in your question, you mentioned something         4
                                                                   MR. BALL: Adam, it's probably
    5 like a secondary amine.                           5
                                                              about time for a break.
    6           In ZHP's valsartan                      6
                                                                   MR. SLATER: Okay. Let's go
    7 manufacturing processes, in particular in the     7
                                                              off.
    8 valsartan zinc chloride process, DMF was used     8
                                                                   THE VIDEOGRAPHER: The time
    9 as a solvent. From the chemical point of          9
                                                              right now is 12:22 p.m. We're now off
   10 view, DMF is an amide, spelled as A-M-I-D-E.     10
                                                              the record.
   11 It's not a secondary amine.                      11
                                                                   (Whereupon, a recess was
   12           In the valsartan TEA                   12
                                                              taken.)
   13 hydrochloride process, triethylamine is a        13
                                                                   THE VIDEOGRAPHER: The time
   14 tertiary amine, not a secondary amine.           14
                                                              right now is 12:35 p.m. We're back on
   15 That's all I have to say.                        15
                                                              the record.
   16           MR. SLATER: Maureen, can you           16
                                                          BY MR. SLATER:
   17      just read back the last sentence of         17
                                                              Q. If ZHP had figured out that
   18      what was just translated as the             18
                                                          diethylamine and/or dimethylamine was a
   19      answer, please?                             19
                                                          potential degradation product of either of
   20           (Whereupon, the reporter read          20
                                                          these manufacturing processes for valsartan,
   21      back the above answer.)                     21
                                                          they would have had to change the processes
   22      Q. This article states in the               22
                                                          to avoid the nitrosating reactions, correct,
   23 second paragraph in part, "Consequently, NDMA    23
                                                          back in 2011?
   24 is generally believed to be formed from the      24
                                                              A. This is a hypothetical
                                            Page 450                                            Page 452
    1 reactions of dimethylamine (DMA) and             1  question. I don't answer any hypothetical
    2 nitrosating agents, such as N203, N204, and      2  question.
    3 ONCl. In addition to secondary amines,            3          However, with that, in 2011,
    4 however, a wide variety of tertiary amines        4 ZHP conducted corresponding work based on our
    5 have also been demonstrated to react with         5 knowledge at that time, as well as the
    6 nitrous acid to produce N-nitrosamines in         6 requirements of ICH.
    7 aqueous solution."                                7     Q. Well, ICH required ZHP to do a
    8           What I just read to you from            8 careful scientific analysis in performing its
    9 this article from 2010, that information was      9 risk assessment for impurities, correct?
   10 easily available to ZHP in 2011, correct?        10     A. In 2011, based on the
   11           MR. BALL: Objection. Asks for          11 requirements of ICH at that time as well as
   12     opinion.                                     12 our knowledge and understanding of valsartan
   13     A. I don't agree with -- I don't             13 zinc chloride process, ZHP conducted
   14 agree with your statement that in 2011 ZHP       14 corresponding work using scientific methods.
   15 can easily find that information. That           15     Q. Actually, ZHP did an
   16 involves resources as well as methods for        16 insufficient level of research into the
   17 searching for such information. It's nothing     17 process and failed to figure out the risks
   18 simple.                                          18 for impurities that it was creating with its
   19           As for the sentence you just           19 valsartan manufacturing processes in 2011,
   20 quoted, from the chemistry point of view, for    20 correct?
   21 dimethylamine, or DMA, as well as chemicals      21          MR. BALL: Objection. Calls
   22 such as N203, N204, ONCl, ZHP did not use any    22     for opinion and expert testimony.
   23 of those chemicals directly in our               23     A. In 2011, ZHP conducted
   24 manufacturing processes.                         24 corresponding work using scientific methods




   Golkow Litigation Services                                            Page 27 (449 - 452)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 29 of
                                                      Protective      33
                                                                   Order
                            PageID: 98548
                                            Page 453                                             Page 455
    1                                                  1  already provided responses.
      based on our knowledge of valsartan zinc
    2                                                  2           In my personal opinion, I
      chloride process at that time.
    3                                                   3 personally believe EDQM or FDA as authorities
              Meanwhile, the related work was
    4                                                   4 did conduct review and assessment to the
      submitted to EDQM and FDA. During this
    5                                                   5 valsartan zinc chloride process change.
      period of time, there were experts who
    6                                                   6          As for the names of the
      reviewed and approved such work.
    7                                                   7 reviewers, I believe that is beyond the scope
          Q. Which experts reviewed and
    8                                                   8 of 30(b)(6) topics, and that's beyond the
      approved this work? Give me their names,
    9                                                   9 scope of information I need to collect.
      please.
   10                                                  10     Q. Let's go back to my original
          A. I'm sorry, I don't know. That
   11                                                  11 question before we went off on this tangent.
      is because after we submitted our work to the
   12                                                  12          In evaluating the potential
      authorities, we don't know who the
   13                                                  13 impurities that would potentially form during
      authorities hired to conduct the review and
   14                                                  14 these processes, the sodium nitrite quenching
      approval.
   15                                                  15 and the zinc chloride process, there was an
          Q. You don't know if anybody at
   16                                                  16 insufficient extent and depth of process
      the authorities even read what was submitted
   17                                                  17 research, which resulted in the risk
      with regard to the sodium nitrite quenching
   18                                                  18 assessment failing to identify the risks of
      and zinc chloride processes. You don't even
   19                                                  19 nitrosamines, correct?
      know if anybody there even read what you
   20                                                  20          MR. BALL: Objection. Calls
      submitted, correct?
   21                                                  21     for opinion and expert testimony.
          A. To the best of my knowledge,
   22                                                  22     A. I don't agree with your
      after we submitted documents to EDQM, the
   23                                                  23 statement. When we talked about the extent
      authority did provide a response.
   24                                                  24 and the depth of the process research, we
              I also know that related
                                            Page 454                                             Page 456
    1                                                  1
      documents pertaining to valsartan zinc              need to do that with the background in our
    2                                                  2
      chloride process were also submitted as             mind. Without the background, it is
    3                                                   3
      attachments.                                        inappropriate to talk about the extent and
    4                                                   4
          Q. It's a simple question. You                  the steps of the process research.
    5                                                   5
      don't know if anybody actually read anything             Q. During the risk assessment
    6                                                   6
      about the process change details at any             process, there was insufficient study and
    7                                                   7
      authority that your company submitted               understanding of potential genotoxic
    8                                                   8
      anything to about the changes, correct?             impurities on the part of the -- on the part
    9                                                   9
               MR. BALL: Objection. Outside               of ZHP in evaluating both the sodium nitrite
   10                                                  10
          the scope of the 30(b)(6) topics.               quenching process and the zinc chloride
   11                                                  11
          These are regulatory.                           process, which resulted in failing to
   12                                                  12
               MR. SLATER: I'm following up               identify the risk of nitrosamine impurities,
   13                                                  13
          on his answer.                                  correct?
   14                                                  14
               MR. BALL: That's fine, Adam,                         MR. BALL: Objection.
   15                                                  15
          I'm not telling him not to answer.                   Compound, calls for opinion, and calls
   16                                                  16
               MR. SLATER: I understand. I'm                   for expert testimony.
   17                                                  17
          just stating for the record why I                    A. I would like you to be more
   18                                                  18
          think it's appropriate to follow up on          specific in your question, or ask the
   19                                                  19
          his response.                                   questions one by one; therefore, I can
   20                                                  20
               MR. BALL: Okay.                            provide you with a more accurate response.
   21                                                  21
          A. In 2011, ZHP already submitted               It's getting late. I'm a little bit tired,
   22                                                  22
      documents regarding valsartan zinc chloride         I'm sorry.
   23                                                  23
      process change to the authorities for review        BY MR. SLATER:
   24                                                  24
      and assessment, and those authorities have               Q. But it's the morning for you.


   Golkow Litigation Services                                             Page 28 (453 - 456)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 30 of
                                                      Protective      33
                                                                   Order
                            PageID: 98549
                                            Page 457                                            Page 459
    1                                                  1
      We're the ones in the middle of the night.          didn't identify the risk of forming
    2                                                  2
                 Okay. It's okay. I'm kidding.            nitrosamines in the sodium nitrite quenching
    3                                                   3
      It's okay.                                          and zinc process -- zinc chloride process,
    4                                                   4
                 There was insufficient study             correct?
    5                                                   5
      and understanding of potential genotoxic                      MR. BALL: Objection. Calls
    6                                                   6
      impurities in the risk assessment process for           for opinion, calls for expert
    7                                                   7
      both the sodium nitrite quenching and zinc              testimony. May be compound; I'm not
    8                                                   8
      chloride processes in 2011, correct?                    entirely sure at this point listening
    9                                                   9
                 MR. BALL: Objection.                         to it.
   10                                                  10
           Compound, calls for opinion, calls for             A. I don't agree with your
   11                                                  11
           expert testimony.                              statement. For each and every of your
   12                                                  12
           A. The question you just asked is              question, I already provided corresponding
   13                                                  13
      still a little bit too long, and you can            response.
   14                                                  14
      still ask those questions one by one.                         With regard to the external
   15                                                  15
      However, for the pending question, I will try       authorities in your question, for example the
   16                                                  16
      to answer part of your question.                    EDQM review and assessment, that is part of
   17                                                  17
                 In 2011, ZHP conducted                   the ZHP's process change. For the process
   18                                                  18
      corresponding work using scientific methods         change application, that is the action that
   19                                                  19
      based on the ICH requirements then, as well         the regulatory affairs department had to take
   20                                                  20
      as our knowledge and understanding at that          and followed up.
   21                                                  21
      time. Afterwards the results from that work                   Had EDQM not provided the
   22                                                  22
      were submitted to the authorities.                  corresponding approvals certificate, ZHP's
   23                                                  23
                 After the work results were              valsartan would have never been sold in the
   24                                                  24
      submitted to the authorities, authorities           European market, and ZHP's valsartan zinc
                                            Page 458                                            Page 460
    1                                                  1
                                                       chloride process change would have never been
      such as EDQM provided their recognition and
    2                                                2 closed.
      approval by the corresponding experts of
    3                                                3          I'm just using EDQM as an
      theirs and provided the approval. The
    4                                                4 example.
      corresponding approval documents were
    5                                                5          MR. SLATER: Cheryll, let's go
      included in the valsartan zinc chloride
    6                                                6     to Exhibit 212, please, the next
      process change documents in 2011.
    7                                                7     exhibit.
          Q. I'll try it one last time.
    8                                                8          (Whereupon, Exhibit Number
               I'm not asking about what
    9                                                9     ZHP-212    was marked for
      anyone else did, so I would appreciate it if
   10                                               10     identification.)
      you would not tell me about regulatory
   11                                               11     A. I'm sorry, I haven't finished
      authorities or people outside ZHP, because
   12                                               12 yet. Should I --
      I'm not asking about any of them.
   13                                               13          MR. SLATER: Take it down,
               I'm only asking about ZHP and
   14                                               14     then. Let's wait.
      what it did in its risk assessment.
   15                                               15 BY MR. SLATER:
               MR. SLATER: Please translate
   16                                               16     Q. You hadn't finished. Okay.
          that for Mr. Dong so he'll understand
   17                                               17     A. Thank you very much for letting
          that and understand what I'm asking,
   18                                               18 me finish my testimony.
          and then I'll ask the question.
   19                                               19          In 2011, ZHP conducted
          Q. Here's my question now, having
   20                                               20 corresponding work using scientific methods
      given you that background.
   21                                               21 based on the requirements of ICH at that
               In ZHP's risk assessment, ZHP
   22                                               22 time, as well as the corresponding knowledge
      insufficiently studied and insufficiently
   23
      understood the potential genotoxic impurities 23 that ZHP had at that time.
   24                                               24          The results of our work were
      as part of its risk assessment, and thus


   Golkow Litigation Services                                             Page 29 (457 - 460)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 31 of
                                                      Protective      33
                                                                   Order
                            PageID: 98550
                                            Page 461                                          Page 463
    1 submitted to the regulatory authorities, such    1
                                                       of incident June 6, 2018.
    2 as EDQM, and EDQM as a regulatory authority    2          Do you see that in front of
    3 did provide ZHP with the approval              3 you?
    4 certificate.                                   4      A. I see it. On the screen I see
    5          That's all I have to say.             5 the corresponding Chinese description,
    6          MR. SLATER: Okay. Let's go to         6 "Investigation regarding an unknown impurity
    7     the next exhibit now, please, Cheryll,     7 (Genotoxic Impurity)."
    8     Exhibit 212. And this is ZHP-662283.       8          MR. SLATER: Please scroll
    9          Scroll back to the top, please.       9      down, Cheryll, to the bottom of this
   10          Thanks.                              10      front page.
   11     Q. And you can see this is an             11      Q. Okay. This says at the
   12 investigation report, and it's regarding the  12 bottom -- there's someone named Yuelin Hu,
   13 June 6, 2018 date of incident.                13 assistant director in the quality assurance
   14          And there's a list of people         14 department. That's the person who is listed
   15 that are expected to review and sign, and     15 as the custodian of this document.
   16 you're one of the people listed, correct?     16          Who is that person?
   17     A. I have two questions for the           17      A. I have to make a clarification
   18 pending question.                             18 here.
   19          First of all, you mentioned          19          What I see here, the name
   20 that the date for this investigation report   20 listed in this table at the bottom is Yuelin
   21 is sometime in 2016. I cannot see the date    21 Hu. I just want to make sure we're talking
   22 2016 on this report.                          22 about the same person.
   23          Secondly, this report, to the        23      Q. Yes.
   24 best of my recollection, is part of the       24      A. Yuelin Hu is a colleague of
                                            Page 462                                          Page 464
    1                                                  1
      investigation, and it's only a draft. I             mine in the QA department. His title is
    2                                                  2
      wonder whether a draft can be used as an            assistant director. He is responsible for
    3                                                   3
      exhibit.                                            reviewing and approving this report. He's
    4                                                   4
                 MR. BALL: Adam, would you like           not responsible for the custody of this
    5                                                   5
            me to answer that second question?            report.
    6                                                   6
                 MR. SLATER: Sure.                                  MR. SLATER: Let's go, Cheryll,
    7                                                   7
                 MR. BALL: Yes.                               in this document to the page that's
    8                                                   8
            A. Okay. Thank you.                               Bates-numbered 308, please.
    9                                                   9
      BY MR. SLATER:                                                Go up a little more.
   10                                                  10
            Q. If Dr. Shao said 2016 -- either                      Okay. Perfect. That's good.
   11                                                  11
      I said it by accident or -- I don't know, but           Q. Looking at paragraph 5.2 with
   12                                                  12
      I'll -- the date of incident is June 6, 2018,       the title "Control strategy" -- do you see
   13                                                  13
      to answer your question. That's what I was          that heading right there?
   14                                                  14
      referring to.                                           A. Can you zoom in a little bit?
   15                                                  15
                 Do you see that?                         The font is too small. I cannot see it very
   16                                                  16
            A. Thank you. The information is              clearly.
   17                                                  17
      very clear.                                             Q. The heading 5.2 says "Control
   18                                                  18
            Q. I'll reask the question, and               strategy," correct?
   19                                                  19
      we'll hopefully get off to a good start here.           A. That is correct.
   20                                                  20
                 We're now looking at                         Q. And looking now at what it says
   21                                                  21
      Exhibit 212, which is a draft of an                 in this paragraph, it says, "Due to
   22                                                  22
      Investigation Report titled "Investigation          insufficient extent and depth of process
   23                                                  23
      regarding an unknown impurity," and then in         research at the early stage, as well as
   24                                                  24
      parenthesis "(Genotoxic Impurity)" for date         insufficient study and understanding of


   Golkow Litigation Services                                            Page 30 (461 - 464)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 32 of
                                                      Protective      33
                                                                   Order
                            PageID: 98551
                                            Page 465                                              Page 467
    1 potential genotoxic impurities, only side         1
                                                                  INSTRUCTIONS TO WITNESS
    2 reaction product and degradation products         2
    3 were studied, and was unaware of the further      3
                                                                  Please read your deposition over
    4 reaction between degradation products and raw     4
                                                          carefully and make any necessary corrections.
    5 material."                                        5
                                                          You should state the reason in the
    6          Do you see what I just read?             6
                                                          appropriate space on the errata sheet for any
    7     A. I see that. It's one of the                7
                                                          corrections that are made.
    8 sentences in the paragraph under Section 5.2      8
                                                                  After doing so, please sign the
    9 on the screen.                                    9
                                                          errata sheet and date it. It will be
   10          THE INTERPRETER: The                    10
                                                          attached to your deposition.
   11     interpreter would like to call it a          11
                                                                  It is imperative that you return
   12     night.                                       12
                                                          the original errata sheet to the deposing
   13          MR. BALL: Adam, we have --              13
                                                          attorney within thirty (30) days of receipt
   14     yeah, we have like five minutes left.        14
                                                          of the deposition transcript by you. If you
   15          MR. SLATER: If -- we can go             15
                                                          fail to do so, the deposition transcript may
   16     off the record.                              16
                                                          be deemed to be accurate and may be used in
   17          THE VIDEOGRAPHER: The time              17
                                                          court.
   18     right now is 1:18 p.m. We're now off         18
   19     the record.                                  19
   20          (Whereupon, the deposition was          20
   21     adjourned.)                                  21
   22                                                  22
   23                                                  23
   24                                                  24

                                            Page 466                                              Page 468
    1           CERTIFICATE
    2                                                   1           ------
    3
                   I, MAUREEN O'CONNOR                              ERRATA
         POLLARD, Registered Diplomate                  2           ------
    4
         Reporter, Realtime Systems
         Administrator, and Certified Shorthand         3   PAGE LINE CHANGE
    5
         Reporter, do hereby certify that prior
         to the commencement of the                     4   ____ ____ _________________________________
    6
         examination, PENG DONG, was remotely           5     REASON: __________________________________
         duly identified and sworn by me to
    7
         testify to the truth, the whole truth,         6   ___ ____ __________________________________
         and nothing but the truth.                     7
    8              I DO FURTHER CERTIFY that                  REASON: __________________________________
    9
         the foregoing is a verbatim transcript         8   ____ ____ _________________________________
         of the testimony as taken
   10
         stenographically by and before me at           9     REASON: __________________________________
         the time, place, and on the date              10   ____ ____ _________________________________
   11
         hereinbefore set forth, to the best of
   12
         my ability.                                   11     REASON: __________________________________
                   I DO FURTHER CERTIFY that           12
         I am neither a relative nor employee               ____ ____ _________________________________
   13    nor attorney nor counsel of any of the        13     REASON: __________________________________
   14
         parties to this action, and that I am
         neither a relative nor employee of            14   ____ ____ _________________________________
   15
         such attorney or counsel, and that I          15     REASON: _________________________________
         am not financially interested in the
   16
         action.                                       16   ____ ____ _________________________________
   17                                                  17     REASON: _________________________________
   18
         ___________________________                   18   ____ ____ _________________________________
   19
         MAUREEN O'CONNOR POLLARD                      19     REASON: _________________________________
         NCRA Registered Diplomate Reporter            20
         Realtime Systems Administrator                     ____ ____ _________________________________
   20    Certified Shorthand Reporter                  21     REASON: _________________________________
   21
         Notary Public
                                                       22   ____ ____ _________________________________
   22
         Dated: April 2, 2021                          23
   23                                                  24
   24




   Golkow Litigation Services                                              Page 31 (465 - 468)
Case 1:19-md-02875-RMB-SAK Document 2663-13
      Confidential Information              Filedto
                                     - Subject    02/26/24 Page 33 of
                                                      Protective      33
                                                                   Order
                            PageID: 98552
                                                Page 469
    1
    2         ACKNOWLEDGMENT OF DEPONENT
    3
    4     I, __________________________, do
      Hereby certify that I have read the foregoing
    5 pages, and that the same is a correct
      transcription of the answers given by me to
    6 the questions therein propounded, except for
      the corrections or changes in form or
    7 substance, if any, noted in the attached
      Errata Sheet.
    8
    9
        _________________________________
   10   PENG DONG            DATE
   11
   12
   13
   14
   15
   16
        Subscribed and sworn
   17   To before me this
        ______ day of _________________, 20____.
   18
        My commission expires: ________________
   19
   20   _______________________________________
        Notary Public
   21
   22
   23
   24

                                                Page 470
    1        LAWYER'S NOTES
    2 PAGE LINE
    3 ____ ____ _______________________________
    4 ____ ____ _______________________________
    5 ____ ____ _______________________________
    6 ____ ____ _______________________________
    7 ____ ____ _______________________________
    8 ____ ____ _______________________________
    9 ____ ____ _______________________________
   10 ____ ____ _______________________________
   11 ____ ____ _______________________________
   12 ____ ____ _______________________________
   13 ____ ____ _______________________________
   14 ____ ____ _______________________________
   15 ____ ____ _______________________________
   16 ____ ____ _______________________________
   17 ____ ____ _______________________________
   18 ____ ____ _______________________________
   19 ____ ____ _______________________________
   20 ____ ____ _______________________________
   21 ____ ____ _______________________________
   22 ____ ____ _______________________________
   23 ____ ____ _______________________________
   24 ____ ____ _______________________________




   Golkow Litigation Services                              Page 32 (469 - 470)
